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 EXHIBIT A
     Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 2 of 123
                                                ELECTRONICALLY FILED BY
                                                Superior Court of California,
                                                County of Monterey
1
                                                On 7/18/2022 6:30 PM
     Christian Wellisch                         By: Christina Flores, Deputy
     PO Box 222732
2    Carmel, CA 93922
     Email: christian@wellischlaw.com
3
     In pro per
4

5

6

7

8                            MONTEREY COUNTY SUPERIOR COURT

9                                       MONTEREY DIVISION
10
                                                                22CV002077
      CHRISTIAN WELLISCH,                               Case No.:
11

12
                    Plaintiff,                          VERIFIED COMPLAINT FOR:
                                                        1. ABUSIVE LOAN SERVICING
13                                                      (Civ. Code § 1788.101);
                                                        2. FAILURE TO RESPOND TO
14                  v.                                  QUALIFIED WRITTEN REQUEST (Civ.
15
                                                        Code § 1788.102);
                                                        3. FAILURE TO RESPOND TO
16                                                      REQUEST UNDER STATE MILITIA
      PENNSYLVANIA HIGHER EDUCATION                     PROTECTIONS
17
      ASSISTANCE AGENCY and DOES 1 -                    (Mil. & Vets Code § 409.15);
18    100,                                              4. NEGLIGENCE;
                                                        5. INTENTIONAL INTERFERENCE
19                  Defendants                          WITH PROSPECTIVE ECONOMIC
                                                        ADVANTAGE;
20
                                                        5. DECLARATORY RELIEF;
21                                                      6. INJUNCTIVE RELIEF.

22                                                      JURY TRIAL DEMANDED
23

24                                         INTRODUCTION

25      1. Plaintiff (hereafter “I,” “me,” my,” “Petitioner,” or “CPT Wellisch”) is, and at all
26
     relevant times has been, a military service member and resident of Monterey County,
27
     California. I will make every effort to avoid “legalese” and make my complaint – dare I
28
     say – more entertaining than the average legal pleading, specifically to encourage




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1    public consumption of the account of my years-long battle to seek justice against my
2
     student loan servicer. This is a verified complaint, meaning that I swear under penalty of
3
     perjury that what I am writing is true to the best of my knowledge. What I do not know to
4

5
     be true, I nonetheless believe to be true, and I base my allegations on these beliefs.

6    Because this complaint seeks to enforce rights under Chapter 7.5 of the Military &
7    Veterans Code, no filing fees or costs shall be charged. Mil. & Vets. Code § 409.14.
8
        2. My purpose is to expose the abusive treatment and misconduct I have endured
9
     from my student loan servicer, Pennsylvania Higher Education Assistance Agency
10

11   (PHEAA), doing business as FedLoan Servicing. In the interest of simplicity, I will refer

12   to PHEAA as FedLoan. Along those lines, to cut right to the chase, I have created the
13
     below chart as a visual representation of FedLoan’s despicable conduct. The chart uses
14
     FedLoan’s own data to prove that FedLoan has ignored the Monterey County Court’s
15
     order dated December 29, 2017, which required FedLoan to credit my account balance
16

17   by $9,495.80. Worse yet, I believe FedLoan has lied about this to this court. However,

18   the numbers don’t lie. Below is the illustrative chart based on FedLoan’s own records:
19

20

21

22

23

24

25

26
                                                                                              N




27

28




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1           3. I will explain the details of what these numbers mean later. For now, a quick
2
     summary will do. The numbers are taken from FedLoan’s own data, attached as the
3
     exhibits referenced in the table. The long and short of it is that since December 2017,
4

5
     apart from the balance-reducing portion of a payment on January 10, 2020 that I should

6    not have been required to make, the only decrease to the total balance occurred when
7    loans 4 – 11 were forgiven through the Public Service Loan Forgiveness program. The
8
     balance on the remaining three loans remained exactly the same as prior to forgiveness
9
     of loans 4 - 11. In other words, no credit was applied at any time between December
10

11   2017 and now, at least as to loans 1 - 3. Having introduced the basics of just one of

12   FedLoan’s objectionable actions, let me now introduce FedLoan.
13
            4. FedLoan is a corporation headquartered in Harrisburg, Pennsylvania. It is
14
     registered with the California Secretary of State as entity number 1180886. The
15
     Secretary of State’s website lists ‘Business Filings Incorporated’ as FedLoan’s agent to
16

17   receive complaints and other legal process on behalf of FedLoan in California, at the

18   address of: 330 N. Brand Blvd., Ste 700, Glendale, CA.1 However, since November 5,
19
     2018, FedLoan has also been required to register as a student loan servicer with the
20
     California Department of Financial Protection & Innovation, or PFPI. FedLoan’s
21

22
     registration information with DFPI is available online via the Nationwide Multistate

23   Licensing System (NMLS) at www.nmlsconsumeraccess.org, which also lists Business
24   Filings Incorporated as FedLoan’s agent for service of process, but at a different
25
     address: 818 West Seventh Street, Suite 839, Los Angeles, CA 90017.2 More on this
26
     discrepancy later. It is enough for now to note that, alas, FedLoan has been my student
27

28   loan servicer at all times relevant to this complaint.

     1
         Available online at: https://bizfileonline.sos.ca.gov/search/business, accessed on July 12, 2022
     2
         Available online at: https://www.nmlsconsumeraccess.org/, accessed on July 12, 2022



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1                                           BACKGROUND
2
        5. I have been on an Income-Based Repayment (IBR) plan at all relevant times. IBR
3
     is one of several repayment plans (to include Income-Contingent Repayment, for
4

5
     example) that are collectively known as Income-Driven Repayment (IDR), where the

6    monthly payment due is calculated based on the borrower’s disposable income. As a
7    military service member, I have qualified for partial financial hardship.
8
        6. IBR allows borrowers to make a lower than regular monthly payment, leaving
9
     more to be spent on basic necessities. IBR is a qualifying repayment plan for purposes
10

11   of Public Service Loan Forgiveness, or PSLF. PSLF is a program created to incentivize

12   public service by allowing borrowers who work in a qualifying public service job and
13
     make 120 monthly payments on a qualifying repayment plan to have the remainder of
14
     their student loans forgiven. This allows those in public service to plan for a future while
15
     working in what generally are lower-paying jobs, relying on the promise of PSLF. If all
16

17   payments qualify, loan forgiveness can occur after 10 years, at the soonest. If some

18   payments do not qualify, loan forgiveness may take longer than 10 years. Military
19
     service is one of several qualifying public service jobs for purposes of PSLF.
20
        7. To maintain eligibility for IBR, borrowers must certify their income each year. This
21

22
     requires submitting specific paperwork through the borrower’s loan servicer. A loan

23   servicer is the intermediary between the federal government as lender, and the
24   borrower. The federal government also tracks borrowers’ payments and loan balances
25
     at www.studentaid.gov. However, loan servicers process billing and account-related
26
     paperwork, and borrowers depend on their loan servicers for timely and accurate
27

28   processing. FedLoan’s incompetence and misconduct as a loan servicer, some of which




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1    will become evident in this complaint, is an example of what has fueled public outrage
2
     about the failure of the promise of loan forgiveness under the PSLF program.3
3
                                                          THE 2016 PETITION
4

5
          8. In 2016, I was a member of the California Army National Guard, which I will

6    abbreviate as CAARNG. While deployed overseas, I was shocked to find that my
7    monthly IBR payment amounts increased, and interest on my loans was capitalized
8
     adding thousands to my total outstanding debt, despite my best efforts to prevent this
9
     from happening. It was impossible to get effective assistance from FedLoan.
10

11        9. In December 2016, after I returned from my overseas service, I filed a petition

12   pursuant to California Military and Veterans Code § 409.3, which I will call the § 409.3
13
     petition for short. Military & Veterans Code § 409.3 was enacted specifically to provide
14
     an expedited hearing for service members who must contend with frequent relocation
15
     and deployments, so as to avoid potentially dire financial consequences resulting from
16

17   delays.4 FedLoan robbed me of the opportunity for a quick resolution by removing my

18   petition to federal court. Of note, FedLoan was barred from litigation at this time,
19
     because its rights and privileges as a corporation had been forfeited by both the
20
     Secretary of State and the Franchise Tax Board, for failure to pay its required taxes. I
21

22
     provided documents demonstrating forfeiture of FedLoan’s rights by both SoS and FTB

23   to the court, but it was to no avail.5 I believe the court incorrectly allowed FedLoan to
24
     3
       This is not simply a personal gripe. A recent article noted: “[A] CFPB report found numerous problems with the administration of
25   the PSLF program, and the agency blamed servicers for many of the issues.” See Adam S Minsky, New Federal Report: Student
     Loan Servicers Often Harm Borrowers Seeking Public Service Loan Forgiveness, Forbes, (June 29, 2021); The report referenced in
     the article is available at: https://files.consumerfinance.gov/f/documents/cfpb supervisory-highlights issue-24 2021-06.pdf. Prior
26
     CFPB reports have also noted specific problems faced by service member borrowers dating back as far as 2012 and 2015. See:
     The Next Front? - Student Loan Servicing and the Cost to Our Men and Women in Uniform (CFPB 2012); see also Overseas and
27   Underserved – Student Loan Servicing and the Cost to Our Men and Women in Uniform (CFPB 2015).
     4
28     See 2013 California Senate Bill No. 720, California 2013-2014 Regular Session; see also Concurrence in Senate Amendments,
     AB 2365 (Lieu), as amended August 2, 2010 (Explaining need for expedited hearing within 25 days of filing for ongoing violations of
     service members’ rights, and noting that: “[o]btaining the representation of an attorney is often a difficult endeavor for service
     members seeking financial relief or the enforcement of protections…”)
     5
       FedLoan’s forefeited status by SoS as of December 24, 2015 and by FTB as of January 4, 2016 is verifiable via a search at:
     https://bizfileonline.sos.ca.gov/search/business. I’d also be happy to provide copies of the certified documents evidencing FedLoan’



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1    continue to litigate despite its powers having been forfeited, but that is all water under
2
     the bridge now. I mention it here only as background information.
3
          10. After protracted litigation in which I had to represent myself, I succeeded in
4

5
     having my §409.3 petition remanded to State court. The Northern District Court

6    recognized that the § 409.3 petition is a separate proceeding from a concurrently filed
7    complaint, subject to separate expedited hearing and procedural rules.6 Eventually, on
8
     December 29, 2017 – a year after I filed the § 409.3 petition that by law is supposed to
9
     be heard within 25 days7 – I won an order in Monterey County Superior Court requiring
10

11   FedLoan to credit my account with a total of $9,495.08. A true and accurate copy of this

12   order is attached as Exhibit A. However, FedLoan has never complied with this order.
13
                           CHRONOLOGY OF FACTS LEADING TO THIS COMPLAINT
14
          11. Meanwhile, in August 2017 I transferred from the CAARNG to the active
15
     component. Since then, I have been serving on active-duty military orders, stationed
16

17   outside the State of California throughout.

18        12. In September 2019, I submitted my annual paperwork for certification of my
19
     income as required to maintain my IBR plan. On September 20, 2019, FedLoan sent an
20
     email confirming receipt of my IBR paperwork.8 Exhibit B is a true and accurate copy of
21

22
     this reply email sent by FedLoan.

23

24   status in early 2017. A forfeited entity cannot litigate or defend against suits. Falsely stating that it can do so should have subjected
     FedLoan to sanctions. See § 18:17. Corporations in suspended status, 1 Cal. Affirmative Def. § 18:17 (2d ed.); see also Brown v.
25   Superior Court, 242 Cal.App.2d 519, 522, 51 Cal.Rptr. 633, 634 (3d Dist.1966); Schwartz v. Magyar House, Inc., 168 Cal.App.2d
     182, 335 P.2d 487 (2d Dist.1959); Alhambra-Shumway Mines, Inc. v. Alhambra Gold Mine Corp., 155 Cal.App.2d 46, 49–51, 317
     P.2d 649, 649–51 (3d Dist.1957), appeal dism'd, 356 U.S. 583, 78 S.Ct. 993, 2 L.Ed.2d 1063 (1958) (right to defend action is one of
26
     corporate rights, powers and privileges suspended or forfeited for failure to pay taxes).
     6
       See Wellisch v. Pennsylvania Higher Educ. Assistance Agency, No. 17-CV-00213-BLF, Order (1) Granting Motion for
27   Reconsideration, (2) Severing and Remanding MIL 010 Petition, and (3) Staying Claim under Cal. Mil. & Vet. Code § 409.3, at 3
     (N.D. Cal. April 14, 2017) (“…Captain Wellisch could have filed the [§ 409.3] Petition separate from his underlying state action… the
28   Court is cognizant that its prior decision deprives [me] of the special procedural rules set forth in CMVC section 409.3(b), i.e., that a
     hearing is to be held within 25 days of filing the petition…)
     7
       See Mil. & Vets. Code § 409.3 (“The court shall set a hearing on the petition within 25 days from the date the petition is filed…”)
     8
       Note that FedLoan’s message references “IDR plan documents.” As discussed above, IBR is one of several IDR plans. FedLoan’s
     usage of IDR to refer to all IDR plans rather than the borrower’s particular plan (such as IBR, or another IDR plan) is for
     convenience.



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1         13. On December 4, 2019, FedLoan - for the first time since acknowledging receipt
2
     of the IBR documents I submitted in September - sent a message warning that my
3
     payments may increase. Exhibit C-1 is a true and accurate copy of this email, and
4

5
     Exhibit C-2 is a true and accurate copy of the letter linked from that email in an online

6    inbox.9
7         14. I immediately contacted FedLoan to address this situation. Naturally, I was
8
     surprised by FedLoan’s warning given that FedLoan had previously confirmed receipt of
9
     my IBR paperwork. In reply to my inquiries, FedLoan stated in relevant part:
10

11        “We received your complete request for an Income-Driven Repayment (IDR)
          plan on September 20, 2019. Once your request is processed, we will send
12        you a notice with the results.”
13
     Attached as Exhibit D is a true and accurate copy of the above-quoted email thread,
14
     which occurred on the same date: December 4, 2019.
15
          15. Despite my immediate action upon FedLoan’s first warning that my payments
16

17   “could increase,” FedLoan failed to prevent this from happening. In January 10, 2020, I

18   was forced to pay $1,583.84 instead of the lower amount regularly due under my IBR
19
     plan. Also, in January 2020 interest on my loans was capitalized, resulting in an
20
     increase of my total outstanding debt by $21,481.16.
21

22
          16. In October 2021 I relocated to California and sent a letter to FedLoan,

23   identifying myself as a service member and demanding that:
24                  1) FedLoan honor the requirement to credit my account by $9,495.80 as
25
                         required by the December 29, 2017 order issued by the Monterey County
26
                         Superior Court on the § 409.3 petition I filed back in 2016;
27

28


     9
      The email references a message in an ‘online inbox’ containing the letter dated December 2, 2019, a copy of which is also
     attached. These were sent on December 4.



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1              2) FedLoan additionally credit my account by $21,481.16 to reverse the
2
                   capitalized interest, and by an additional $1,582.84 to reverse the payment
3
                   I was forced to make in January 2020;
4

5
               3) FedLoan correct inaccurate information reflected on my credit report;

6              4) FedLoan pay me a lump sum of $25,000 as compensation for the several
7                  years of its failure to abide by its obligations and its failure to provide
8
                   correct information to credit reporting agencies for my accounts; and
9
               5) As a guarantee that all payments previously accepted by FedLoan as
10

11                 PSLF-qualifying payments continue to be honored if and when my loans

12                 are transferred to a new servicer, agree to make monthly payments on my
13
                   behalf for as many months as the number of payments previously
14
                   accepted by FedLoan as PSLF-qualifying payments that are disputed by a
15
                   new servicer, should such disputes occur.
16

17   Attached as Exhibit E is a true and accurate copy of this letter. I received no reply.

18      17. In the interim, I submitted certification of my qualifying employment as a military
19
     service member for purposes of PSLF, as I had done in prior years. Attached as Exhibit
20
     F is a true and accurate copy of the paperwork I submitted on November 16, 2021, on a
21

22
     form called “Public Service Loan Forgiveness (PSLF) & Temporary Expanded PSLF

23   (TEPSLF) Certification & Application.”
24      18. Because I had not received a response to my demand letter, in December 2021 I
25
     decided to seek judicial enforcement of my demands. However, having noticed the
26
     inconsistency between the different addresses listed for FedLoan’s agent for service of
27

28




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1    process on the Secretary of State’s website and DFPI records, I did not serve the
2
     complaint on FedLoan.10
3
          19. Meanwhile, I became aware of the federal government’s announcement of
4

5
     changes to the PSLF program, recognizing the “broken system” due to the abysmal

6    performance and misconduct of loan servicers standing in the way of student borrowers
7    attempting to secure loan forgiveness. Attached as Exhibit G is a true and accurate
8
     copy of a press release dated October 6, 2021, available at www.ed.gov, quoting U.S.
9
     Secretary of Education Miguel Cardona: “If a borrower qualifies for student loan relief, it
10

11   shouldn’t take mountains of paperwork or a law degree to obtain it.” Exhibit H is a true

12   and accurate copy of the Department of Education’s description of the PSLF waiver
13
     program, announced online at https://studentaid.gov, offering a temporary expansion of
14
     the PSLF program intended to allow more borrowers to receive loan forgiveness as a
15
     countermeasure against the negligent and intentional misconduct of loan servicers.
16

17        20. I decided to give the PSLF process a chance. Therefore, and also in light of

18   FedLoan’s contradictory information regarding the address of its agent for service of
19
     process listed with the Secretary of State and the address displayed in NMLS, in
20
     December 2021 I voluntarily dismissed the complaint shortly after I filed it, without
21

22
     prejudice (leaving me free to re-file it). I never served the complaint on FedLoan.

23   Instead, I decided to send a second letter clarifying substantially the same demands as
24   the first, to FedLoan’s agent for service of process at the address listed with DFPI.
25
     Attached as Exhibit I is a true and accurate copy of my second letter.
26

27

28

     10
       Pursuant to 10 California Code of Regulations §§ 2032.5, 2033.5, student loan servicers must keep on file with the National
     Multistate Licensing System & Registry (NMLS) certain information, including providing “a registered agent for service of process.”
     See subs. (a)(10). Civil Code § 1798.18 and 10 C.C.R. § 2036.5 require loan servicers to keep this information current & accurate.



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1         21. On March 8, 2022, I received an email from FedLoan’s counsel. A true and
2
     accurate copy of this email is attached as Exhibit J. The email does not address any of
3
     the requests in my prior letters in October and December 2021. Instead, it states:
4

5
          “I have reviewed [the complaint] and [FedLoan] has asked me to reach out to you to
          inquire whether there are any issues with your student loans with which you would
6         like assistance.”
7         22. Repayment on my loans is scheduled to resume in August, 2022. I learned
8
     that my loans would at some point in the near future be transferred to a new loan
9
     servicer.11 I was also scheduled to relocate at the end of June, 2022, assigned to a duty
10

11
     station outside California. Meanwhile, FedLoan had not addressed any of my requests

12   in my prior two letters.
13        23. In light of the above, on May 27, 2022, I decided to initiate an expedited
14
     proceeding concerning my loans, within the jurisdiction and relief available under
15
     Military & Veterans Code § 409.3. This § 409.3 petition is a related case pending before
16

17   the court as case number 22CV001497. Although the hearing was originally scheduled

18   for June 17 – and per CMVC § 409.3 was to be conducted within 25 days of filing – it
19
     has been delayed. First, it was continued to accommodate what appears to have been
20
     counsel for FedLoan’s vacation plans. It is now subject to another delay request,
21
     because the court rescheduled the hearing to a date when I am unavailable due to
22

23   military service out of state (i.e., a primary reason for the expedited proceeding).

24        24. A declaration of one of FedLoan’s agents, Shannon Wrumb, a true and accurate
25
     copy of which is attached as Exhibit K, states in relevant part:
26
          “[FedLoan] complied with the Court’s Order to refund Wellisch $9,495.80.
27        Specifically, [FedLoan] reversed capitalized interest on Wellisch’s account in
          the amount of $5,295.80. Further, [FedLoan] issued Wellisch three checks on
28
          January 30, 2018 in the amounts of $1,400.93, $1,400.92, and $1,400.92, for
     11
       A summary of these changes is described in several published articles. One example: Courtney Johnston, Eligible for Public
     Service Loan Forgiveness? You Have a New Student Loan Servicer, CNET, (July 9, 2022).



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1         a total of $4,202.77. These checks, combined with the $5,295.80, total
          $9,497.85, slightly above the amount required to be paid pursuant to the
2
          Court Order… The capitalization of $22,902.74 in interest was due to
3         Wellisch’s failure in 2019 to submit a completed Income-Driven Repayment
          recertification request… the majority of this amount was discharged via a
4         limited waiver with effective dates of May and July 2018. The adjusted
5
          amount of interest that capitalized on January 1, 2020 is $2,669.27.”

6          FEDLOAN’S RECORDS PROVE NONCOMPLIANCE WITH THE 2017 ORDER

7        25. Shannon Wrumb’s declaration is flat-out false. First, I do not recall ever having
8    received three checks for $1,400.92 from FedLoan, but I may be mistaken. What is
9    conclusively established by FedLoan’s own records is that no credit of $5,295.80 (or
10   any other amount) was applied since the December 2017 court order. The only
11   reduction in my loan balance is due to the portion of a payment I was forced to make in
12   January 2020 that went toward the principal. It may help to follow along my chart:
13      Exhibit: L-1     L-2      L-1          C-2                       L-1                         M         U      L2
          Date: 10-Dec-17 10-Nov-19 2-Dec-19*            1-Jan-20 10-Mar-20 27-Dec-20 16-Nov-21                14-Jul-22
14       Notes: Prior bal.      No chng.     Notice*    Capitalized Jan. 10 PMT On date           Unkn.       PSLF (4-11)
       Change:     $0.00         $0.00      Acc. Intrst $21,481.16 -$1,355.05        $0.00       $1,424.77 -$156,160.05
15    Balance: $156,084.30 $156,084.30 $176,840.51 $177,565.46 $176,210.41 $176,210.41 $177,635.18 $20,050.36
      Interest:     N/A           N/A      $20,756.21*     N/A          N/A           N/A           N/A         $178.29        Diff:
         Loan 1     N/A           N/A       $5,375.77      N/A          N/A           N/A        $5,401.34     $5,353.30 ($48.04)




                                                                                                                                                   $178.29
16
         Loan 2     N/A           N/A       $8,678.28      N/A          N/A           N/A        $8,732.88     $8,655.23 ($77.65)
17       Loan 3     N/A           N/A       $5,887.89      N/A          N/A           N/A        $5,916.14     $5,863.54 ($52.60)
         Loan 4     N/A           N/A       $10,678.21     N/A          N/A           N/A       $10,729.98       $0.00




                                                                                                                           PSLF loan forgiveness
18       Loan 5     N/A           N/A       $19,206.59     N/A          N/A           N/A       $19,231.14       $0.00




                                                                                                                               Feb. 16, 2022
         Loan 6     N/A           N/A       $10,448.02     N/A          N/A           N/A       $10,498.66       $0.00




                                                                                                                                                   Exhibit QN
19       Loan 7     N/A           N/A       $19,517.16     N/A          N/A           N/A       $19,641.17       $0.00
         Loan 8     N/A           N/A       $2,538.53      N/A          N/A           N/A        $2,521.82       $0.00
20       Loan 9     N/A           N/A       $15,966.21     N/A          N/A           N/A       $16,067.41       $0.00
       Loan 10      N/A           N/A       $45,317.99     N/A          N/A           N/A       $45,592.86       $0.00
21     Loan 11      N/A           N/A       $33,225.86     N/A          N/A           N/A       $33,301.78       $0.00
     * Letter warning that payments may increase, listed balances without separating interest. The amount of interest that was
22   ultimately capitalized on January 1, 2020 was $21,481.16; $724.95 higher than the interest calculated based on substracting the
     prior balance shown on November 10 from the aggregate total balance shown on December 2, 2019.
23       26. Exhibit L-1 is a true and accurate copy of all of my loan transactions from
24   inception through December 27, 2020. I downloaded these records through my account
25   on FedLoan’s website at www.myfedloan.org on December 27, 2020. Due to the COVID
26   pandemic, loan payments were suspended in March, 2020. Hence no transactions
27   appear beyond March 10, 2020. Payments are scheduled to resume in August 2022.
28        27. Directly contradicting Shannon Wrumb’s statement quoted above, FedLoan’s
     own records displayed in Exhibit L-1 show that my loan balance was never credited with



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1    any amount by FedLoan. From 2017 through December 27, 2020, my outstanding
2    balance only increased. It increased by $21,481.16 due to the capitalization of interest
3    in 2020 as described above, bringing the total from $156,084.30 to $177,565.46. This
4    was lowered by $1,355.05 ($413.40 + $941.65), reflecting the portion of the $1,583.84
5    payment I was forced to make on January 10, 2020 that was applied toward the
6    principal. The total balance through December 27, 2020 was $176,210.41.
7       28. On November 17, 2021, FedLoan sent me a letter acknowledging receipt of the
8
     PSLF paperwork I submitted online a day or two prior to that. Attached as Exhibit M is a
9
     true and accurate copy of this letter. The letter also includes the outstanding balance on
10

11
     each of my 11 separate loans, in an aggregate total of $177,635.18. Therefore, as of

12   November 17, 2021, this was the total outstanding balance according to FedLoan’s
13   records; $1,424.77 higher than the total balance reflected on January 10, 2020, without
14
     crediting my balance as required by the December 29, 2017 order.
15
             FEDLOAN’S REVISED RECORDS ALSO PROVE NONCOMPLIANCE
16
        29. On July 14, 2022, I again downloaded a list of all transactions concerning my
17

18   loans from FedLoan’s website at www.myfedloan.org. A true and accurate copy of this

19   list is attached as Exhibit L-2. I also downloaded the current balance of my remaining
20
     loans, a true and accurate copy of which is attached as Exhibit U. These two documents
21
     show the current aggregate balance of loans 1 – 3 as $19,872.07, with another $178.29
22
     in interest, for a grand total remaining balance on loans 1 – 3 of $20,050.36.
23

24      30. The reason why only loans 1 – 3 appear with this balance currently is that

25   records of my loan transactions were retroactively altered due to forgiveness of loans 4
26
     – 11, backdated to effective dates in May and July 2018, as per Exhibit L-2. A letter
27
     dated February 16, 2022 confirms this, stating in relevant part:
28
            “…we conducted another review of your Public Service Loan Forgiveness (PSLF)
            & Temporary Expanded PSFL (TEPSLF) Certification & Application (PSLF Form)


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1           and payment history. We have determined that you have successfully made the
            required 120 monthly payments in order to have all or a portion of your loans
2
            listed below forgiven.”
3
     The letter listed loans 4 -11 as having a $0 balance. The letter also lists the amounts
4
     forgiven, which add up to $148,492.75. A true and accurate copy of this letter is
5

6    attached as Exhibit N.

7       31. The balance listed for loans 1 – 3 as of November 17, 2021 (Exhibit M), are
8
     $5,401.34, $5,916.14, and $8,732.88, for a total of $20,050.36. This is the exact same
9
     amount as the current outstanding balance for these three loans listed in Exhibits L-2
10

11
     and U. Thus, no credit occurred, at least as to loans 1 – 3 between November 17, 2021

12   and the present.
13      32. Exhibits L-1 (showing FedLoan’s records as of December 27, 2020) and L-2
14
     (records as of July 14, 2022) both agree that from prior to the December 2017 court
15
     order through May of 2018, the total balance on my loans as $156,084.30 (with no
16

17   credit pursuant to the December 29, 2017 order). The retroactively-cooked-books in

18   Exhibit L-2 indicate credits totaling $148,492.75 effective May 31 and July 31, 2018,
19
     leaving the aforementioned balance of $20,050.36. This $148,492.75 credit is the exact
20
     same amount as what appears on the February 16, 2022 letter (Exhibit N) as the
21
     aggregate amount forgiven on loans 4 -11.
22

23      33. In other words, even pursuant to FedLoan’s revised records, no credits apart

24   from PSLF loan forgiveness have been applied to my accounts between December
25
     2017 and today. Another way to interpret this might be that according to FedLoan’s own
26
     data, Shannon Wrumb’s declaration is false, since FedLoan’s data is incompatible with
27
     the claim that “[FedLoan] complied with the Court’s Order to refund Wellisch $9,495.80.”
28

     See Exhibit K.



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1         FEDLOAN CANNOT KEEP TRACK OF MY PSLF-QUALIFYING PAYMENTS
2
        34. On January 7, 2022, FedLoan sent approximately four copies of the same letter
3
     (dated January 6) indicating I have made between 98-99 qualifying payments on the 11
4

5
     student loans listed above. Attached as Exhibit O is a true and accurate copy of one of

6    these identical letters.
7       35. Also on January 7 (in letters dated January 6), FedLoan sent three separate
8
     letters listing loans 1 – 4, 5 – 8, and 9 – 11, indicating that I had made 98, 99, and 99
9
     qualifying payments on these groups of loans, respectively. Attached as Exhibit P1 – P3
10

11   are true and accurate copies of these letters.

12      36. On January 18, 2022, in letters dated January 14, FedLoan indicated that these
13
     same groups of 11 loans had only been credited with 84 and 85 qualifying payments.
14
     Attached as Exhibit Q1 – Q3 are true and accurate copies of these letters.
15
        37. On March 16, 2022, in a letter dated March 15, FedLoan stated my PSLF-
16

17   qualifying payments for loans 1 – 3 were 84 for each. A true and accurate copy of this

18   letter is attached as Exhibit R.
19
        38. On March 18, 2022, FedLoan sent a letter (dated March 17) indicating the PSLF
20
     qualifying payments on loans 1 – 3 were now 91, 91, and 89, respectively. A true and
21

22
     accurate copy of this letter is attached as Exhibit S. The number of eligible payments

23   had also fluctuated throughout these various notifications.
24      39. Thus, according to FedLoan’s records, in January 2022 the count of my PSLF-
25
     qualifying payments was between 98-99 for each of my 11 loans. About 10 days later,
26
     this inexplicably dropped to a range of 84-85. Approximately a month thereafter, the
27

28   count of qualifying payments increased to 120 on loans 4 – 11, which were therefore

     forgiven pursuant to PSLF. Moreover, this was retroactive to 2018, meaning that the true



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1    count of PSLF-qualifying payments had reached 120 some four years prior. However,
2
     for loans 1 – 3 I have not yet reached 120 payments according to FedLoan. Instead, the
3
     count is somewhere between 84 as of March 16, and 91, 91, and 89 as of March 18,
4

5
     2022, respectively.

6       40. I believe that not FedLoan, but the Department of Education of the federal
7    government, audited my loans due to public outrage about the abysmal performance
8
     and misconduct of student loan servicers. Attached as Exhibit T is a true and accurate
9
     copy of a letter from a department of education official indicating that “[b]oth Federal
10

11   Student Aid and your PSLF servicer are working hard to monitor your accounts and

12   make sure you get credit for your progress.”
13
        41. I believe and allege that this audit revealed that FedLoan was not properly
14
     accounting for my PSLF-qualifying payments, and the audited count revealed that 120
15
     PSLF-qualifying payments on loans 4 – 11 had been reached in 2018. I further believe
16

17   and allege that FedLoan now wrongfully seeks to escape any responsibility for its failure

18   to abide by its obligations, relying on loan forgiveness through PSLF to wipe out my
19
     loans without ever crediting me by the amount required by the court’s 2017 order,
20
     without refunding amounts I was forced to – but should not have been required to – pay,
21

22
     and without otherwise accounting for the incorrect reporting of my outstanding loan

23   balance and incorrect count of my PSLF-qualifying payments.
24      42. Moreover, I believe my case illustrates many of the problems with the student
25
     loan servicing industry, including FedLoan’s inadequate communications, untimely
26
     processing of paperwork, and failure to take any measures to prevent the capitalization
27

28   of interest on my loans and me being charged amounts in excess of my regular monthly

     IBR payment amounts. Instead of acting in my best interests, FedLoan has time and



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1    again taken advantage of my reliance on FedLoan’s inaccurate communications or the
2
     complete absence thereof, as well as unconscionably taking advantage of the hardships
3
     I face as an incident of active-duty military service. FedLoan’s appalling conduct also
4

5
     illustrates the difficulties faced by anyone, not just military service members, in the

6    unfortunate position of having to battle the immense resources of large organizations to
7    seek justice, and the ease with which loan servicers can escape liability even when their
8
     own records prove their wrongful conduct. This action seeks to right this wrong.
9
                                    FIRST CAUSE OF ACTION
10
                                 Student Borrower Bill of Rights
11                              Cal. Civ. Code § 1788.100, et. seq.

12      43. Instead of the archaic language traditionally used in most complaints stating,
13
     “Plaintiff repeats and re-alleges paragraphs 1-42 above as though fully set forth herein,”
14
     I will simply state that each paragraph of this complaint is incorporated into the first
15
     cause of action. I feel this is a better statement, while avoiding the annoying ‘legalese.’
16

17      44. Civil Code sections 1788.100 through 1788.105 codify certain requirements of

18   student loan servicing in California. Section 1788.100 provides relevant definitions, with
19
     § 1788.101 listing prohibited acts. The definition of ‘abusive acts’ includes any act that:
20
               1) “Materially interferes with the ability of a borrower to understand a term or
21

22
                   condition of a student loan;” (Subs. (a)(2)(A))

23             2) “Takes unreasonable advantage of… [t]he inability of a borrower to protect
24                 the interests of the borrower when selecting or using… a feature, term, or
25
                   condition of a student loan” (subs. (a)(2)(B)(ii)(II)) or
26
               3) “Takes unreasonable advantage of… [t]he reasonable reliance by the
27

28                 borrower on a person engaged in servicing a student loan to act in the

                   interests of the borrower.” (subs. (a)(2)(B)(iii)) Servicers also must not:



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1                     4) “Engage in an unfair or deceptive practice toward a borrower or
2
                           misrepresent or omit material information in connection with the servicing
3
                           of a student loan…” (subs. (b)(2)) or
4

5
                      5) “…fail to accurately report each borrower’s payment performance to at

6                          least one consumer reporting agency…” (subs. (b)(4)(A));
7                     6) “Engage in an unfair or deceptive practice toward a military borrower or
8
                           misrepresent or omit material information in connection with the servicing
9
                           of a student loan owed by a military borrower.” (subs. (b)(7))
10

11          45. FedLoan’s actions and communications with me between September 2019 and

12   January 2020, as described in more detail above, are abusive acts and are otherwise
13
     prohibited under California law.
14
            46. FedLoan’s failure to credit my account as required by a court order dated
15
     December 29, 2017 is also an abusive act and otherwise prohibited by California law.
16

17          47. FedLoan’s failure to make accurate reports to credit reporting agencies

18   concerning my student loan debts is an abusive act and is otherwise prohibited by law.
19
            48. The acts described in this complaint also constitute unfair or deceptive practices
20
     toward a military borrower, and are otherwise prohibited by California law.
21

22
            49. Pursuant to § 1788.103, an action for damages for violations of the Student

23   Borrower Bill of Rights (§ 1788.102) may be maintained if the borrower has provided
24   written notice regarding the nature of the alleged violations and demanded correction
25
     and remedy at least 45 days before bringing an action for damages. The notice must be
26
     sent by certified or registered mail to the address on file with DFPI.12 The demand
27

28   letters I sent in October and December of 2021 satisfy § 1788.103’s requirements.


     12
          Formerly known as the Department of Business Oversight. See: https://docqnet.dbo.ca.gov/



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1       50. Pursuant to § 1788.100, available relief includes actual damages, injunctive
2
     relief, restitution, punitive damages, attorney’s fees, and any other relief the court
3
     deems proper. Additionally, treble (legalese for triple) damages are available on a
4

5
     showing that more likely than not, the loan servicer has engaged in conduct that

6    substantially interferes with a borrower’s right to loan forgiveness, cancellation, or
7    discharge, among other things. FedLoan’s actions have substantially interfered with my
8
     right to loan forgiveness, and I therefore am entitled to, and demand, triple damages.
9
                                    SECOND CAUSE OF ACTION
10
                         Failure to Respond to Qualified Written Request
11                                  (Cal. Civil Code § 1788.102)

12      51. Each paragraph of this complaint is incorporated into this second cause of
13
     action.
14
        52. Pursuant to Civil Code § 1788.103(a)(1) and § 1788.102(t), student loan
15
     servicers must respond to a qualified written request from a borrower within 10 business
16

17   days, and must provide information, take action to correct the account, or provide an

18   explanation that the borrower’s account is correct. § 1788.100 defines a “qualified
19
     written request” as “written correspondence made by a borrower… transmitted by
20
     mail… or electronically… that… (1) Enables the student loan servicer to identify the
21

22
     name and account of the borrower. [And] (2) Includes a statement of the reasons for the

23   belief by the borrower… that the account is in error…” A response is required within 10
24   business days, and with an explanation of actions taken (approval or denial of the
25
     request) within 30 business days. Civ. Code § 1788.102(t).
26
        53. I have sent qualified written requests to FedLoan identifying me by name and as
27

28   a military borrower and explaining various errors, including those concerning my

     account balance and PSFL-eligible payment count.



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1       54. FedLoan did not respond to my qualified written requests. FedLoan also did not
2
     take action to correct my account or provide an explanation for denial of my request
3
     within 30 business days.
4

5
        55. By failing to respond as required, FedLoan has violated Civil Code § 1788.102. A

6    violation of this section is subject to enforcement under §1788.103.
7       56. I complied with the notification requirements of Civil Code § 1788.103(d). I have
8
     provided written notice regarding the nature of the violations. In the notice I provided, I
9
     requested that FedLoan correct and remedy the methods, acts, and practices to which
10

11   my notices referred. I filed this action more than 45 days after I provided written notice

12   to FedLoan. FedLoan has never replied to my qualified written requests.
13
        57. I am entitled to, and demand all available relief, including triple damages,
14
     because FedLoan has engaged in conduct that substantially interferes with my right as
15
     a borrower to loan forgiveness.
16

17                                 THIRD CAUSE OF ACTION
                         Relief under California State Militia Protections
18                               (Cal. Mil. & Vets Code § 409.15)
19
        58. Each paragraph of this complaint is incorporated into this third cause of action.
20
        59. Military & Veterans Code § 415 is the last section within Chapter 7.5 (Mil. & Vets.
21

22
     Code §§ 400 – 415). It states in relevant part that:

23          (a) Any person who receives a good faith request from a service member
            for relief pursuant to this chapter… shall, within 30 days of the request,
24          provide the service member with a written response acknowledging the
25
            request…

26          (b) If the person fails to make such a response in the timeframe set forth in
            this section, the person waives any objection to the request, and the
27          service member shall be entitled to the relief requested.”
28
        60. Section 415 requires no specific format for a good faith request made by a

     service member for relief pursuant to Chapter 7.5. Chapter 7.5’s protections apply to


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1    both service members in the active component as well as the reserve component. See
2
     Mil. & Vets. Code § 400.
3
        61. The demand letters I sent to FedLoan in October and December 2021 as
4

5
     described in more detail above, constitute requests for relief pursuant to Chapter 7.5 of

6    the Military & Veterans Code.
7       62. FedLoan did not make a response within 30 days of my good faith requests.
8
        63. By failing to respond, FedLoan has waived any objection to my requests. I am
9
     therefore entitled to, and demand, the relief requested in my demand letters, true and
10

11   accurate copies of which are attached as Exhibits E and I.

12                                FOURTH CAUSE OF ACTION
                                         Negligence
13
                                      (Evid. Code § 669)
14
        64. Each paragraph of this complaint is incorporated into this fourth cause of action.
15
        65. In California, student loan servicers must abide by requirements of the Student
16

17   Loan Servicing Act (Financial Code §§ 28100 et. seq.) and Civil Code §§ 1788.100 –

18   105 (the Student Borrower Bill of Rights), and regulations under authority of these laws.
19
     The Student Borrower Bill of Rights establishes requirements on loan servicers and
20
     prohibits abusive practices, as described in more detail above, and cross-references the
21

22
     Student Loan Servicing Act, which imposes registration requirements. The purpose of

23   the legislative scheme is stated in Stats. 2020 ch 154, § 1(b):
24          “(1) Promote meaningful access to affordable repayment and loan forgiveness
25
            benefits for student loan borrowers in California.
            (2) Ensure California borrowers can rely on information about student loans and
26          loan repayment options provided by student loan servicers.
            (3) Build upon the Student Loan Servicing Act to set effective minimum student
27
            loan servicing standards and to ensure that California borrowers are protected
28          from predatory student loan industry practices.
            (4) Promote the public interest in furtherance of the state’s historic police powers
            to protect the health, welfare, and safety of the state and, in furtherance of the
            public interest, the act should be liberally construed to effectuate that intent.”


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1    Legislative intent is also stated in the 2016 note following Fin. Code § 28100.13
2
          66. FedLoan conducts student loan servicing in California, and therefore is required
3
     to be, and has been, licensed as a student loan servicer in California pursuant to
4

5
     Financial Code § 28102. FedLoan is further required to maintain up-to-date and

6    accurate registration information, and to comply with and to develop policies and
7    procedures reasonably intended to promote compliance with the Student Loan
8
     Servicing Act and regulations issued pursuant to it.
9
          67. I believe and allege that FedLoan has failed to maintain accurate registration
10

11   information and otherwise has failed to comply with the Student Loan Servicing Act and

12   regulations issued pursuant to it.
13
          68. Additionally, as a student loan servicer, FedLoan must abide by the Student
14
     Borrower Bill of Rights and the “Rules of the Road” for the student loan servicing
15
     industry established under Civil Code § 1788.102. FedLoan’s actions as described
16

17   above violated Civil Code §§ 1788.100 - 103 by:

18                  1) Failing to timely process paperwork I submitted concerning my IBR plan (§
19
                         1788.102, subs. (g));
20
                    2) Failing to timely process my PSLF application and account for my PSLF-
21

22
                         qualifying payments (Id.);

23                  3) Failing to respond to my qualified written requests as required (Id., subs.
24                       (t));
25
                    4) Failing to protect me as a borrower from negative consequences identified
26
                         in my qualified written requests (Id., subs. (k)); and additionally,
27

28
     13
       After reciting data and problems identified by the Consumer Financial Protection Bureau, the legislature stated: “It is the intent of
     the Legislature to promote all of the following: (1) Meaningful access to federal affordable repayment and loan forgiveness benefits.
     (2) Reliable information about student loans and loan repayment options. (3) Quality customer service and fair treatment.”




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1              5) FedLoan’s actions as described above constituted abusive acts and
2
                   practices in violation of §1788.103;
3
               6) FedLoan has misrepresented or omitted material information in connection
4

5
                   with the servicing of my student loans as a military borrower and borrower

6                  working in public service, in violation of § 1788.103, subs. (b)(2). (b)(7),
7                  and (b)(8); and
8
               7) FedLoans actions as described above were otherwise prohibited under
9
                   California law.
10

11      69. As a consequence of FedLoan’s negligent operations as a student loan servicer

12   in violation of these laws, I was forced to make payments in excess of the amounts I
13
     should have paid, my outstanding balance was increased and calculated incorrectly, my
14
     PSLF-qualifying payments were not accounted for accurately, and forgiveness of my
15
     loans pursuant to the PSLF program was delayed. Furthermore, my credit has been
16

17   damaged by the incorrect data concerning my outstanding loan balances. My demands

18   for correction of these issues were left unanswered.
19
        70. I request judgment against FedLoan, damages according to proof, interest,
20
     costs, and such other relief as the court may deem proper.
21

22
                                      FIFTH CAUSE OF ACTION
                         Intentional Interference with Economic Advantage
23
        71. Each paragraph of this complaint is incorporated into this fifth cause of action.
24

25
        72. I borrowed student loans pursuant to promissory notes and agreements between

26   the federal government and I. The federal government has implemented various
27
     programs that confer an economic advantage on certain borrowers. One is Public
28
     Service Loan Forgiveness, which incentivizes public service employment by providing

     for loan forgiveness after 120 qualifying payments. Another is Income-Based


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1    Repayment, which allows qualified borrowers to make lower monthly payments based
2
     on the borrower’s disposable income. Both programs require submission of paperwork
3
     through loan servicers. I have at all relevant times been eligible for and pursued loan
4

5
     forgiveness through the PSLF program while participating in IBR.

6         73. FedLoan is, and has at all relevant times been, the servicer of my student loans.
7    Loan servicers function as intermediaries handling billing and process paperwork
8
     concerning repayment options and other matters.14 FedLoan has at all relevant times
9
     known or should have been aware of requirements concerning eligibility for PSLF and
10

11   IBR plans, actions necessary to avoid capitalization of interest, and achieving loan

12   forgiveness through the PSLF program in the quickest possible timeframe while
13
     avoiding delays due to forbearance periods or the non-qualification of payments for
14
     purposes of PSLF.
15
          74. I believe and allege that FedLoan (1) intentionally failed to alert me prior to
16

17   December 2, 2019 that I was in jeopardy of losing my eligibility for IBR despite having

18   submitted IBR paperwork as early as September 20, 2019; (2) that FedLoan
19
     intentionally phrased its December 2 notification letter to imply that there was something
20
     I could do to prevent the increase of my monthly payment amount (Exhibit C-1: “Your
21

22
     payments could increase! Act now”) when in fact there was nothing I could do to prevent

23   the increase of my monthly payment; and (3) that when I reached out to FedLoan on the
24   same day to inquire what actions I can take to prevent the increase of payments,
25
     FedLoan intentionally implied that I had complied with all requirements (Exhibit D: “We
26
     received your complete request for an Income-Driven Repayment (IDR) plan on
27

28
     14
       https://studentaid.gov/manage-loans/repayment/servicers: “A loan servicer is a company that [the U.S. government assigns] to
     handle the billing and other services on your federal student loan on our behalf, at no cost to you. Your loan servicer will work with
     you on repayment options (such as income-driven repayment plans and loan consolidation) and will assist you with other tasks
     related to your federal student loans.”



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1    September 20, 2019. Once your request is processed, we will send you a notice with
2
     the results.”).
3
        75. As a result of FedLoan’s failure to timely process my IBR paperwork, my loan
4

5
     was placed in a forbearance status. Consequently, no bill for December 2019 appears

6    on my record of loan transactions (Exhibits L-1 and L-2). This delays and jeopardizes
7    loan forgiveness under the PSLF program, which requires 120 qualifying payments.
8
        76. As a result of FedLoan’s misleading communications, my eligibility for IBR was
9
     jeopardized. My monthly payment amount increased, and I was debited $1,583.84 for
10

11   the month of January 2020.

12      77. I request judgment against FedLoan, damages according to proof, interest,
13
     costs, and such other relief as the court may deem proper.
14
        78. FedLoan’s actions were willful, oppressive, and malicious. I am therefore entitled
15
     to punitive damages.
16

17                                  SIXTH CAUSE OF ACTION
                                        Declaratory Relief
18
        79. Each paragraph of this complaint is incorporated into this sixth cause of action.
19

20      80. An actual controversy has arisen and now exists between FedLoan and I

21   concerning our respective rights and duties in that I contend FedLoan (1) has a duty to,
22
     but never has credited my accounts as required by the December 29, 2017 order
23
     attached as Exhibit A; (2) had a duty to reply to my qualified written requests and good
24

25
     faith request for relief pursuant to Chapter 7.5 of the Military & Veterans Code attached

26   as Exhibits E and I, respectively; (3) as a consequence of its failure to reply to my good
27
     faith request for relief, FedLoan has waived any objections and must therefore provide
28
     the relief I requested; (4) has taken unreasonable advantage of my reliance on FedLoan

     as my loan servicer and has failed to communicate effectively with me concerning my


     Wellisch v. PHEAA                           24                     Case No. : ____________
     Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 26 of 123



1    student loans, resulting in the capitalization of interest and increased monthly payment
2
     amounts I incurred; (5) has inaccurately accounted for my outstanding loan balances
3
     and PSLF-qualifying payments; and (6) has violated the Student Loan Servicing Act and
4

5
     the Student Borrower Bill of Rights; and FedLoan denies these contentions.

6       81. I request a judicial determination of rights and duties concerning the above
7    matters. A judicial determination is necessary due to the upcoming resumption of
8
     payments in August on my student loans, the outstanding balance of which is in dispute,
9
     and due to the imminent transfer of my loans to a new servicer, with a disputed balance
10

11   and disputed count of PSLF-qualifying payments.

12      82. Absent declaratory relief, I am in jeopardy of losing my opportunity for loan
13
     forgiveness under the PSLF program on my remaining loans, and being required to pay
14
     incorrect monthly payment amounts based on an incorrect calculation of the total
15
     outstanding balance for an unspecified length of time. Additionally, FedLoan may
16

17   escape liability for its actions that I allege violated applicable laws, because FedLoan

18   intends to get out of the business of servicing student loans in California.
19
        83. I have made repeated efforts to request relief from FedLoan and to enforce my
20
     rights through demand letters and petitions, as outlined above. None have worked.
21

22
        84. I therefore request a declaration that (1) FedLoan has a duty to, but has failed to

23   credit my accounts as required by the December 29, 2017 order attached as Exhibit A;
24   (2) FedLoan had a duty to, but failed to reply to my written requests; (3) that by failing to
25
     reply, FedLoan has waived any objection to my demands and must therefore provide
26
     the relief I requested; (4) that FedLoan, as my student loan servicer, has failed its
27

28   obligations toward me as a borrower by failing to effectively process paperwork and

     communicate with me concerning my loans; (5) that FedLoan has kept an inaccurate



     Wellisch v. PHEAA                            25                      Case No. : ____________
     Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 27 of 123



1    accounting of my outstanding balances and PSLF-qualifying payments; and (6) that
2
     FedLoan has violated the Student Loan Servicing Act and the Student Borrower Bill of
3
     Rights.
4

5
                                            SEVENTH CAUSE OF ACTION
                                                 Injunctive Relief
6
            85. Each paragraph of this complaint is incorporated into this seventh cause of
7

8
     action.

9           86. FedLoan has never credited my accounts, contrary to the court’s December 29,
10
     2017 order. FedLoan has falsely stated that it did comply with this order, when it has not
11
     done so. FedLoan has failed to properly account for my PSLF-qualifying payments,
12
     which in February 2022 resulted in the retroactive forgiveness of loans 4 – 11 effective
13

14   May and July, 2018. FedLoan has provided inconsistent counts of PSLF-qualifying

15   payments on my remaining three loans. FedLoan’s acts and omissions have resulted in
16
     capitalization of my interest, increase of my loan balance by tens of thousands of
17
     dollars, increased monthly payments I was forced to make, and delay & jeopardization
18
     of loan forgiveness under the PSLF program due to inaccurate count of my qualifying
19

20   payments and due to my loans being placed in forbearance.

21          87. My loans will soon be transferred to a new servicer. FedLoan’s website states:
22
     “FSA will begin transitioning the PSLF program, borrowers, and their loans in stages
23
     from FedLoan Servicing to MOHELA in early July 2022 into September 2022.”15
24

25
            88. I will suffer irreparable harm and injury if FedLoan transfers my accounts to a

26   new servicer with an inaccurate balance and incorrect count of PSLF-qualifying
27
     payments. I will have no adequate legal remedy, because it will be impossible to
28



     15
          https://myfedloan.org, accessed on July 17, 2022.


     Wellisch v. PHEAA                                        26            Case No. : ____________
     Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 28 of 123



1    determine the precise amount of damage and the correct number of PSLF-qualifying
2
     payments after my loans are transferred to a new servicer. I will also be forced to initiate
3
     multiple suits against various defendants to obtain adequate compensation for my
4

5
     injuries if FedLoan is allowed to transfer my loans to the new servicer.

6       89. I am likely to prevail, because I have already prevailed once before, resulting in
7    the December 29, 2017 order with which FedLoan has yet to comply. On the other
8
     hand, FedLoan’s actions demonstrate that FedLoan is willing to ignore court orders, that
9
     it is unable to properly account for my PSLF-qualifying payments, and that it cannot
10

11   fulfill its functions as a loan servicer. These problems will be magnified upon transfer to

12   a new servicer, with little chance of correcting them thereafter.
13
        90. An injunction is necessary to (1) prevent FedLoan from transferring my loans to
14
     a new servicer until this matter is finally resolved; (2) to require FedLoan to credit the
15
     current balance of my accounts by $9,495.80 pursuant to the court’s December 29,
16

17   2017 order and to otherwise correctly account for my outstanding loan balances; (3) to

18   require FedLoan to account for all of my PSLF-qualifying payments on my remaining
19
     loans, including all periods that qualify under the temporarily expanded PSLF rules, and
20
     periods when I was forced into a forbearance status on account of FedLoan’s failure to
21

22
     timely process my paperwork, such as in December 2018; (4) and to prohibit FedLoan

23   from continuing to engage in the abusive actions with which FedLoan has treated me.
24      91. I therefore request:
25
               1) An order requiring FedLoan to show cause, if any exists, why FedLoan
26
                   should not be enjoined as set forth in this complaint;
27

28             2) A temporary restraining order, a preliminary injunction, and a permanent

                   injunction, enjoining FedLoan and its agents as set forth in this complaint;



     Wellisch v. PHEAA                            27                        Case No. : ____________
     Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 29 of 123



1              3) Costs of suit incurred, and such other relief as the court deems proper.
2
                                         RELIEF REQUESTED
3
        Based on the above, I request:
4

5
               4) Declaratory relief as stated above;

6              5) A bill of particulars concerning all loan transactions from December 2017
7                  through the present, all credits and checks or other transactions
8
                   undertaken pursuant to the December 29, 2017 order, and the record and
9
                   contents of all communications between FedLoan and I from September
10

11                 1, 2019 through March 20, 2022;

12             6) A temporary restraining order, preliminary injunction, and permanent
13
                   injunction as stated above;
14
               7) Damages according to proof;
15
               8) Restitution according to proof;
16

17             9) Costs & attorney’s fees;

18             10) Triple (treble) damages;
19
               11) Punitive damages in an amount sufficient to deter FedLoan and others
20
                   from similar future conduct;
21

22
               12) Any other appropriate remedy.

23      I declare under penalty of perjury under the laws of the State of California that the
24   foregoing is true and correct.
25
     Dated: July 17, 2022
26
                                                 _____________________________________
27                                               CHRISTIAN WELLISCH
                                                 Service member, student borrower, and self-
28
                                                 represented plaintiff




     Wellisch v. PHEAA                             28                     Case No. : ____________
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 30 of 123




                        EXHIBIT A
              Order dtd. December 29, 2017
                                          Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 31 of 123
                                                                                           EXHIBIT A


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          N                                       COSTA MESA. CALIFORNIA     92626-1925                          On 12/29/201 7
          DJ
                                                             mﬁqgg                                               By Deputy:          Dalia, Lisa

                                      Donald E. Bradley (state Bar No. 145037)‘
          h                             d. bradley@mpglaw. com


          U!
                                                       PENNSYLVANIA HIGHER
                                      Attorneys for Defendants
          O\
                                      EDUCATION ASSISTANCE AGENCY and JAMES L. PRESTON

          Q


          0'00
                                                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                       COUNTY OF MONTEREY
—                                                                            '




                                      Christian Wellisch,                                                Case No. 16CV004093                       I.   l:   :1
p—n




                                                                                                                                                         ‘15
                                                               Plaintiff,                                Hon. Susan     J.   Matcham, Departméﬁt
H

                                                      vs.
                                                                      _
                                                                                                                   ORDER ON PLAINTIFF’S
                                                                                                         ['PROPQSED]
H
                                                                                                         MILITARY & VETERANS CODE
u—h
                                          Pennsylvania Higher Education Assistance                       SECTION 409.3 PETITION
                                          Agency, James L. Preston, and            DOES     1-100,
y—n
                                                                                                         Date:     July 10, 2017
                                                               Defendants.                               Time:     9:00      am.
                                                                                                         Dept:
n—n                                                                                          '



                                                                                                                   15

H                                                     The hearing on the     Petition of Plaintiff Christian Wellisch (“Wcllisch”) for relief pursuant


                                      to Military           & Veterans Cdde Section 409.3        (“409.3 Petition”)   was held on        July 10, 2017, before
r—I-t—i




          WQQUI&WNHO\DOO\)O\MAUJNHO




                                      Judge Susan J. Matcham of the Monterey County Superior Court. Wellisch appeared                                   in propria


N                                     persona. Defendant Pennsylvania Higher Education Assistance Agency                               (“PHEAA”) appeared         via


N                                         special designation       by the Attorney Geﬁeral of the Commonwealth of Pennsylvania through

N                                     Donald E. Bradley of Musick, Peeler                  & Garrett.   After consideration of the documentary evidence,

N                                     testimony, brieﬁng, and argument of the parties, and                 GOOD CAUSE APPEARING, the Court
N                                     rules as follows:


N                                                     1.       Wcllisch was deployed on active duty ﬁ'om February               3,   201 6, through October 23,

N                                         2016.

N                                                     2.       Wellisch’s 2015/2016 Income-Based           Repayment (“1BR”) plan, which provided                 for


N                                         reduced student loan payments for one year, had been in place from July 10, 2015. Pursuant to


                                          1060821.l

                                                        [PROPOSED] ORDER ON PLAINTIFF’S MILITARY              & VETERANS CODE SECTION 409.3 PETITION
                                         Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 32 of 123
      ‘\       IS                                                  EXHIBIT A



                                     this   IBR plan,       Wellisch’s student loan payments were reduced from $1,583.84 t0 $182.92. During

                     N               this   IBR period,           interest   on Wellisch’s student loan balance was               deferred. Wellisch      was    -




                                     responsible to pay the deferred interest once his ﬁnal                         IBR plan expired.

                                                  3.         Wellisch’s deadline to submit documentation to renew his                       IBR plan was June          6,


                                     2016.        On March 24,            201 6,   PHEAA sent Wellisch a letter advising him of this deadline. On May
                                                       PHEAA sent Wellisch an email advising him of this deadline.
                     \OOOﬂQUl-D-UJ




                                     17,    2016,

                                                  4.         Wellisch did not submit a complete                IBR renewal        application   by the June     6,   201 6

                                     deadline.         As   a result, Wellisch’s student loan payments for August 10, September 10, and

                                     October 10, 2016, were increased from $182.92 to $1,583.84.

                    10                            5.         in addition, because of Wellisch’s failure to submit a complete renewal application,

                    11               pursuant to 34          CFR 685.221(e), PHEAA was required to                         capitalize the deferred intergst     payments

                    12               for the year during            which Wellisch had made reduced payments pursuant                       to his   IBR plan.       This

                    13               total   of interest recapitalization was $5,293.03, and was applied to Wellisch’s principal balance on

                    14               July    1,   2016. This amount of deferred interest would have ultimately been applied to Wellisch’s

                    15               principal balance at the expiration of the ﬁnal                   IBR plan that Wellisch qualiﬁed for.

                    16                            6.         The Court ﬁnds           that pursuant to Military        & Veterans Code Section 409.3, Wellisch
                    17               is   entitled to deferral            of the increased payments in August, September, and October 2016, and

                    18               deferral      of the July       1,   2016     interest capitalization   of $5,293.03.

                    19                            7.         Accordingly,           PHEAA is ordered to credit Wellisch’s kﬁown balance in the amount
                    20               of $5,293.03,          until his      ﬁnal    IBR plan   expires, after       which   that deferred interest shall   be
                                                                                                               I
                                                                                                                                                ‘




                    21               recapitalized.


                    22                            8.         PHEAA is further ordered to credit Wellisch’s loan balance in the amount of
                    23               $4,202.77, representing the $1,400.92 increasel in Wellisch’s August, September, and October,‘

                    24               20 1 6 payments          .




                    25                            IT IS     SO ORDERED.
                    26

                    27
                                     1

                    28                            ($1,583.84, less $182.92)

MUSICK, PEELER
& GARRETT LLP                        1060821.1
                                                                                                          2
ATIO RNEYS AT LAW
                                                   [PROPOSED]         ORDER ON PLAINTIFF’S MILITARY & VETERANS CODE SECTION 409.3 PETITION
                                                                                                                             16CV004093
              ﬂ


                                                                    DATED:     H
                                                                    Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 33 of 123
                                                                                   gm.
                                                                                      '



                                                                                               EXHIBITA            k].


                                                                                                   December 29, 2017
                                                                                                                             /ézctfwd       l:




                                                                                                                          Hon. Susan J. Matcham
                                                                                                                          Judge of the Superior Court




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                   HH                   HO




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                                        N




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                    28
MUSICK. PBELER
&GARRBTTLLP                                                         106082”                                      3
ATIORNBYS AT LAW
                                                                              [PROPOSED] ORDER ON PLAINTIFF’S MILITARY & VETERANS CODE SECTION 409.3 PETITION
                                                                                                                                                  1   60V004093
 Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 34 of 123




                       EXHIBIT B
Letter dtd. September 20, 2019, confirming receipt of IBR
                      paperwork
We received your IDR request!
                        Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 35 of 123
                                                        EXHIBIT B
         Subject: We received your IDR request!
         From: FedLoan Servicing <noreplyth@myfedloan.org>
         Date: 9/20/2019, 11:16 PM
         To:




                        Thank you for submitting your additional Income-Driven Repayment (IDR) plan documents.

                        You may receive additional emails regarding the status of this request. At any time you can view real
                        time status updates, make a payment and more through your online account at
                        MyFedLoan.org/signin.

                        Once your request has been processed, we will send a communication advising of the outcome.

                        Reminder: Continue to make your normal monthly payment amount until you are approved and
                        receive a bill with your adjusted monthly payment.




                                    Please do not reply directly to this message. Instead, Contact Us with any questions.




                       You may have already requested to unsubscribe from emails not specifically related to your account, but you are
                       receiving this email because it is an important message about your loans and/or grants.



                                                FedLoan Servicing, P.O. Box 69184, Harrisburg, PA 17106-9184

                                                                            v8.0.0

                       ##83000000426006756|FD|N##




         This message contains privileged and conﬁden al informa on intended for the above addressees only. If you receive
         this message in error please delete or destroy this message and/or a achments.

         The sender of this message will fully cooperate in the civil and criminal prosecu on of any individual engaging in the
         unauthorized use of this message.

         Code:PHEAA




1 of 1                                                                                                                                   8/24/2021, 8:04 AM
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 36 of 123




                       EXHIBIT C
      Notification & Letter dtd. December 4, 2019
            “Your payments could increase”
Action Required: View the message in your Paperless Inbox and take ...
                       Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 37 of 123
                                                         EXHIBIT C-1
         Subject: Ac on Required: View the message in your Paperless Inbox and take ac on!
         From: FedLoan Servicing <noreplyth@myfedloan.org>
         Date: 12/4/2019, 8:40 PM
         To:




                        Account Number: XX XXXX 7678

                        We added the following message to your Paperless Inbox at MyFedLoan.org.

                               Your Payments Could Increase! Act Now




                                                 PLEASE DO NOT REPLY TO THIS MESSAGE.

                                                      Instead, Contact Us ! Or write to us at:

                                         FedLoan Servicing • P.O. Box 69184 • Harrisburg, PA 17106-9184



                       We sent this message to you based on your existing relationship with us (FedLoan Servicing). Did you
                       receive this email in error? Please call us at 1-800-699-2908 and delete this email.

                       No longer want to receive emails from us? Unsubscribe today . Or, change your Paperless Enrollment
                       preferences in Account Access if you no longer wish to participate in paperless services.




                       ##83000000458958512-GeneralServicing-FD-83000000461531688##




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         unauthorized use of this message.

         Code:PHEAA




1 of 1                                                                                                                        8/24/2021, 8:03 AM
                       Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 38 of 123
                                                 EXHIBIT C-2




                                                                                                      YOUR NEW
    December 2, 2019                                                                               PAYMENT AMOUNT


                #BWBBCFT
                #B301 7684 0012 02L8#                                                                 Account Number: 48 0356 7678




As part of the Income-Based Repayment (IBR) plan, you are required to recertify annually, even if your income or family
size has not changed. We needed this updated information to recalculate your monthly payment based on your income and
family size.

Since we did not receive your complete annual documentation, your new payment amount is not based on your income and
family size; however, your loans will remain on the Income-Based Repayment (IBR) plan. Your new monthly payment is
$1,583.84. This will remain your monthly payment unless you recertify your Income-Based Repayment (IBR) plan or change
to a new repayment plan.

If you want to have your payment amount recalculated based on your income and family size, apply online at
StudentLoans.gov.

Good to Know
   ● Options such as deferment and forbearance or changing repayment plans are available if you cannot afford your
       monthly payment. Visit MyFedLoan.org/TroublePaying to learn more.
    ●    Since you are enrolled in Direct Debit, we will continue to debit your account with your new monthly payment
         amount and any additional funds that you requested
    ●    Any unpaid interest capitalized (was added to the principal balance of your loans).
    ●    We will still remind you annually when it is time to recertify your IDR plan.
    ●    The eligibility requirements for all Income-Driven Repayment (IDR) plans are included.




TLXFQD    FS06BIDRPS      4803567678      ENOTIFY           83000000458958512

P.O. Box 69184, Harrisburg, PA 17106-9184 | M-F 8AM to 9PM (ET) |   800-699-2908 | International 717-720-1985 |   711
MyFedLoan.org
                   Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 39 of 123
                                             EXHIBIT C-2
                                                  (return to chart)
Loan Information


      Loan Program            Disbursement Date           Current Principal Balance    Interest Rate

         DLSTFD                   08/18/2010                               $5,375.77     5.750%

         DLUNST                   08/18/2010                               $8,678.28     5.750%

         DLSTFD                   02/13/2012                               $5,887.89     5.750%

         DLSCST                   06/27/2012                             $10,678.21      5.750%

         DLSCSC                   06/27/2012                             $19,206.59      4.250%

         DLSCST                   06/27/2012                             $10,448.02      5.750%

         DLSCUN                   06/27/2012                             $19,517.16      5.750%

         DLSCST                   06/27/2012                               $2,538.53     1.260%

         DLSCUN                   06/27/2012                             $15,966.21      5.750%

         DLSCPG                   07/27/2012                             $45,317.99      5.750%

         DLSCUC                   09/14/2012                             $33,225.86      4.250%
                    Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 40 of 123
                                              EXHIBIT C-2
ELIGIBILITY CRITERIA FOR INCOME-DRIVEN REPAYMENT PLANS

INCOME-BASED REPAYMENT (IBR) PLAN
In order for you to qualify, the payment that you would be required to make under the IBR plan (based on your income and
family size) must be less than what you would pay under the Standard Repayment Plan with a 10-year repayment period.

All Direct and FFEL Program loans made to student borrowers are eligible except for those that are in default. Direct and
FFEL parent PLUS Loans and Direct and FFEL Consolidation Loans that repaid a Direct or FFEL parent PLUS Loan are not
eligible.

INCOME-CONTINGENT REPAYMENT (ICR) PLAN
You may qualify to repay your loans under the ICR Plan if you have eligible loans.

All Direct Loan Program loans made to student borrowers are eligible except for those that are in default. Direct parent
PLUS Loans and Direct PLUS Consolidation Loans are not eligible. FFEL Program loans are not eligible.

PAY AS YOU EARN (PAYE) REPAYMENT PLAN
In order for you to qualify, the payment that you would be required to make under the PAYE plan (based on your income
and family size) must be less than what you would pay under the Standard Repayment Plan with a 10-year repayment
period. You must also be a new borrower.

You are a new borrower for the PAYE plan if:
(1)    you have no outstanding balance on a Direct Loan or FFEL program loan as of October 1, 2007, or have no
       outstanding balance on a Direct Loan or FFEL program loan when you obtain a new loan on or after October 1,
       2007, and
(2)    you receive a disbursement of a Direct Subsidized Loan, Direct Unsubsidized Loan, or student Direct PLUS Loan
       on or after October 1, 2011, or you receive a Direct Consolidation Loan based on an application received on or after
       October 1, 2011. However, you are not considered a new borrower if the Direct Consolidation Loan you received
       repaid loans that would make you ineligible under part (1) of this definition.

All Direct Loan Program loans made to student borrowers are eligible except for those that are in default. Direct parent
PLUS Loans and Direct Consolidation Loans that repaid a Direct or FFEL parent PLUS Loan are not eligible. FFEL Program
loans are not eligible.

REVISED PAY AS YOU EARN (REPAYE) REPAYMENT PLAN
You may qualify to repay your loans under the REPAYE Plan if you have eligible loans.

All Direct Loan Program loans made to student borrowers are eligible except for those that are in default. Direct parent
PLUS Loans and Direct Consolidation Loans that repaid a Direct or FFEL parent PLUS Loan are not eligible. FFEL Program
loans are not eligible.
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 41 of 123




                        EXHIBIT D
           Reply emails dtd. December 4, 2019
[2312135] Re: Income-Driven Repayment plan << Reference ID: 23...
                       Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 42 of 123
                                                 EXHIBIT D
         Subject: [2312135] Re: Income-Driven Repayment plan << Reference ID: 2312135 >>
         From: accoun nfo@myfedloan.org
         Date: 12/4/2019, 10:23 PM
         To:




         Thank you for contac ng FedLoan Servicing!


         We received your complete request for an Income-Driven Repayment (IDR) plan on September 20,
         2019. Once your request is processed, we will send you a no ce with the results.


         If your request is approved, it may take approximately 1-2 billing cycles for your new repayment plan
         to take eﬀect. You will need to con nue to make your regular monthly payments un l you receive
         your ﬁrst bill with a new payment amount.


         Please use the "Contact Us" link through your online account at MyFedLoan.org to submit inquiries
         via a secure email form. You may also call us toll-free at 1-800-699-2908 to reach our Customer
         Service Department, which is open Monday through Friday, 8:00 AM - 9:00 PM (ET).



         Sincerely,



         Mason

         FedLoan Servicing




         >> Original Message ...
         >> To: accoun nfo@myfedloan.org
         >> Subject: Income-Driven Repayment plan
         >> Sent: 12/05/2019 03:23
         >>
         >> Message: I applied for annual IDR recer ﬁca on in September 2019 and I provided my tax return


1 of 2                                                                                                8/24/2021, 7:59 AM
[2312135] Re: Income-Driven Repayment plan << Reference ID: 23...
                       Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 43 of 123
                                                 EXHIBIT D
         as documenta on of income. But today I got an email that I failed to provide documenta on. What
         the hell else do youwant? I hate FedLoan

         This message contains privileged and conﬁden al informa on intended for the above addressees
         only. If you receive this message in error please delete or destroy this message and/or a achments.

         The sender of this message will fully cooperate in the civil and criminal prosecu on of any individual
         engaging in the unauthorized use of this message.

         Code:PHEAA




2 of 2                                                                                                  8/24/2021, 7:59 AM
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 44 of 123




                         EXHIBIT E
               Letter dtd. October 29, 2021
        Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 45 of 123
                                  EXHIBIT E


To whom it may concern;

You (PHEAA and its subsidiaries, employees, or agents acting on behalf of PHEA) have violated
applicable federal and state laws and substantially interfered with my right as a borrower to alternative
payment arrangements, loan forgiveness, and other financial benefits as described in more detail below. I
am and have at all relevant times been a military service member eligible for the Public Service Loan
Forgiveness (PSLF) program and for Income-Based Repayment (IBR), which is a subset of Income-
Driven Repayment (IDR) plans. I demand that you:

    1   Credit my account in the amount of $32,398.54 ($9,495.80 + $22,902.74):

            1.a The amount of $9,495.80 reflects the payments and interest capitalization you charged to
                my account between July and October 2016, which you were legally required to credit
                back to my account;

            1.b The $22,902.74 reflects the difference between the payment you charged for January
                2020 ($1,583.84) and the monthly payment amount due under IBR ($162.26), plus the
                capitalized interest you added to the principal balance on my account in January 2020
                ($21,481.16). These charges resulted from your failure to timely process the IBR
                paperwork I submitted in September 2019. You contacted me regarding my IBR plan on
                or about December 4 2019, stating “Your payments could increase! Act now.” In
                response to my immediate reply you stated: “We received your complete request for an
                Income-Driven Repayment (IDR) plan on September 20, 2019. Once your request is
                processed, we will send you a notice with the results.” Although I acted immediately in
                response to your messages to me, you failed to timely compete processing of my
                paperwork and as a result I was charged the higher monthly payment amount, and
                several years worth of interest was capitalized, increasing my total outstanding balance.

    2   Update all credit reporting agencies and verify that the outstanding balance reflected on
        credit reports is lowered by $32,398.54; and pay me a lump sum of $25,000:

            2.a The $32,398.4 reflects the total amount you are to credit to my account.

            2.b The $25,000 reflects compensation in the amount of $5,000 for each of the five years
                beginning in 2017 and ending in 2021 during which you incorrectly reported the
                outstanding balance on my accounts to credit reporting agencies.

    3   Guarantee at least 103 payments will count as qualifying payments for PSLF through
        December 2021; and agree to make any payments due as a result of any delay, rejection,
        or question as to the qualification for PSLF of any of these 103 payments
        (48+3+37+15=103):

            3.a You have previously stated that through July 2017 I have made 48 qualifying payments
                on loans 1, 2, 3, 4, and 9; and 49 qualifying payments on loans 5, 6, 7, 9, 10, and 11. For
                the sake of simplicity, this is rounded down to 48.

            3.b You deemed three payments ineligible (December 2019, November 2016, and April
                2014) because no bill was due for the payment period, and one payment (January 2015)
                ineligible because payment was received outside the payment window. However, I was
                on active duty military service during each of these months, except November 2016.
                Therefore, under the updated PSLF rules, at least three of these payments qualify for
                PSLF.

            3.c In September 2020, I submitted paperwork verifying my active duty military service for the
                months listed below, but you have not yet accounted for the months from August 2017 –
                September 2020 (37 months):
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 46 of 123
                          EXHIBIT E



           c.i Periods of military service previously certified through other means:
                   i.1 June – October 2013
                   i.2 March – December 2014
                   i.3 February – September 2015
                   i.4 February – October 2016
           c.ii Employment certification previously submitted but not yet processed by you:
                   ii.1 August 2017 – September 2020 (37 months)

    3.d I continue to serve on active duty and will remain on active duty through December 2021.
        That is an additional 15 months beyond September 2020. This brings the total qualifying
        payments during the time you act as my loan servicer to 103. (48+3+37+15=103)

    3.e You will no longer be servicing my student loans after expiration of your contract with the
        Department of Education (DoE) in December 2021. Consequently, I may not be able to
        seek redress from you thereafter. Loan forgiveness under PSLF occurs after 120
        qualifying payments. Therefore, I will be eligible for loan forgiveness after making 17
        otherwise qualifying payments beyond the 103 qualifying payments through December
        2021 during which time you act as servicer of my loans, and during which time I continue
        to make my monthly payments while serving on active duty military orders.

    3.f If, after I have made 17 additional otherwise qualifying payments and applied for loan
        forgiveness, any of the 103 above-described payments is questioned or rejected as a
        qualifying payment for purposes of PSLF, you will make as many additional payments on
        my behalf as is equal to the number of payments from the 103 payments that have been
        questioned, rejected, or otherwise caused delay to forgiveness of my loans. For example,
        if 10 of the 103 payments is rejected, you will make 10 payments. You need not make
        any payments if none of the 103 payments is rejected, but other payments are rejected.

Please contact me at                            at your earliest convenience to discuss the
specific time-frame and manner for your compliance with the above requests.




                                                    Christian Wellisch
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                     EXHIBIT F
PSLF & Temporary Expanded PSLF Certification Form dtd.
                 November 16, 2021
                                               Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 48 of 123
                                              PUBLIC SERVICE LOAN                                  Fonamﬁdpsm
                                                                                          & TEMPORARY 0MB No. 1845-01 1o
                                                                                                             Form Approved
           AM                                 EXPANDED PSLF (TEPSLF) CERTIFICATION & APPLICATION
                                   '                                                                                                                                                              Exp. Date 08/31/2023
     ‘l‘l’éw                                  William D. Ford Federal Direct Loan (Direct Loan) Program
                      I
                                                                                                                                                                                                  PSFAP - XBCR
                                              WARNING: Any person who knowingly makes a false statement or misrepresentation on this form or on
                                              any accompanying document is subject to penalties that may include ﬁnes, imprisonment, or both, under
                                              the      U.S. Criminal    Code and 20               U.S.C. 1097.

SECTION                   1:   BORROWER INFORMATION




                                                                                                                                           —
                                                                                                                      Please enter or correct the following information.




                                                                                                                                          —
                                                                                                                              Check this box             if   any of your information has changed.
                                                                                                                              ss~
                                                                                                           Date of Birth

                                                                                                                          Name


                                                                                                                                          _
                                                                                                                                          —
                                                                                                                                           Christian Wellisch

                                                                                                                      Address

                                                                                                                              City                                       State    CA              Zip   Code-
                                                                                              Telephone - Primary
                                                                                             Telephone - Alternate
                                                                                                                          Email

|For       more information on                            PSLF, visit StudentAid.qov/publicservice. To apply online,                                            visit   StudentAid.gov[PSLF.

SECTION 2: BORROWER REQUEST, UNDERSTANDINGS, AND CERTIFICATION
Irequest                  Department of Education (the Department) determine whether qualify for PSLF or TESPLF, and
                          (1) that            the      U.S.                                                                                                               I



discharge any qualifying loans that have, and (2) if none of my loans qualify for PSLF or TEPSLF when submit this form,
                                                                         |                                                                                                                    |



determine how many qualifying payments have made towards PSLF and TEPSLF.                l




           Ijust      want to find out how many qualifying payments have made or                                  |                              if   my employer is a qualiﬁed employer.
D      I   believe             l   qualify for forgiveness                   under PSLF or TEPSLF                     right        now.

       lfl   indicated that  qualify               now,
                                                   l   believel               for forgiveness                         l   want a forbearance while                   my application          is   being processed, but
D understand that periods of forbearance do not count towards forgiveness.

I   understand                         that:

     1.      To       qualify for forgiveness,                     I   must have made 120 qualifying payments on my Direct Loans while employed                                                              full-time   by a
             qualifying employer. Neither the 120 qualifying                             payments nor employment have to be consecutive.

     2.      To       qualify for forgiveness,                     |   must be employed                  full-time            by a qualifying employer when apply for and get forgiveness.
                                                                                                                                                                              I




     3.      By submitting                        this form,      my student loans held by the Department may be transferred to FedLoan                                                            Servicing.

     4.      If   the Department determines that appear to be eligible for forgiveness, the Department
                                                                                    l                                                                                             may contact my employer
             before granting forgiveness to ensure that continue to work for the employer.         |




     5.      If am eligible for forgiveness, the amount forgiven will be the principal and interest that was due on my eligible Direct
                  l



             Loans when made my ﬁnal qualifying payment. Any amount thatl pay on those loans afterl have made my ﬁnal
                                              l



             qualifying payment will be treated as an overpayment. must continue to make payments on any of my other loans.
                                                                                                                          l




     6.        am not eligible for forgiveness, will be notiﬁed of the determination, why
             lfl                                                                l                                                                               it   was made, and how many qualifying
             paymentsl have made towards PSLF and TEPSLF.
    Icertify that                      all   ofthe information I have provided on                          this       form and            in   any accompanying document                     is   true,   complete, and
correct to the best of                                 my knowledge and                 belief and that      if  cease to be employed by a qualifying employer after submit this
                                                                                                                  I                                                                                          I



application, but before forgiveness                                      is   granted,        I   will   notify the Department (see Section 7) immediately.
    D Check this box       you cannot obtain certiﬁcation from your employer because the organization is closed or because the
                                                  if

           organization has refused to certify your employment. The Department will follow up to assist you in getting
           documentation of your employment. Complete Section 3, but do not complete Section 4.
                                                              WELLISCH. CHRISTIAN. 14                        0'9“” 5'9"“              by
                                                                                                                                   ﬁH1Rslﬁl-lggb144ﬁ1gggvaoo
           Borrower's Signature61 653800                                                                     gtyzigﬂ'                                                    Date     1   1-1   5-2021
                                                                                                                  Page         1   of 6
                                  Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 49 of 123
Borrower Name                       Christian Wellisch                                      EXHIBIT F                                    Borrower SSN

SECTION 3: EMPLOYER INFORMATION (T0 BE COMPLETED BY THE BORROWER OR EMPLOYER)
‘l.
       Employer Name:                                                                                             10.      lsyour employer tax-exempt under Section 501 (c)(3)
                                                                                                                           ofthe Internal Revenue Code (IRC)?
       U.S.   Army
                                                                                                                              If your employer is tax-exempt under another

                                                                                                                           subsection of 501 (c) ofthe IRC, such as 501                      (c)(4)    or
                                                                                                                           501 (c)(6), check "No" to this question.
       Federal Employer Identiﬁcation                             Number (FEIN)                                            D Yes     -   Skip to Section 4.
       XX-XXXXXXX
                                                                                                                           D No      -   Continue to Item         11.


                                                                                                                  11   .   Isyour employer a not-for-proﬁt organization that is
3.     Employer Address:
                                                                                                                           not tax—exempt under Section 501 (c)(3) of the Internal
       DFAS ATTN: DFASIN/JAREA                                                                                             Revenue Code?
       8899 East 56th Street
       Indianapolis IN 46429-2410
                                                                                                                           D Yes Continue to Item
                                                                                                                                     -                                12.

                                                                                                                           D No -Your employer does not                           qualify.

4o     Employer Website                  (if   any):                                                              12.      Is   your employer a partisan               political      organization or a

       www.goarmy.com                                                                                                      labor union?
                                                                                                                           D Yes     -   Your employer does not qualify.

5.     Employment Begin Date:                                                                                              D No     -    Continue to Item         13.

       08-01 -201 7
                                                                                                                  13.      Which of the following services does your employer
                                                                                                                           provide? Check all that apply and then continue to
6.     Employment End                   Date:
                                                                                                                           Section 4. If you check "None of the above", do not
                                                                                                                           submit    this form.


                       OR
                                                                                                                           D Emergency management
             Still     Employed
                                                                                                                           D         service (See Section
                                                                                                                                 Military                                        6)

                                                                                                                           D Public safety
       Employment Status:                          FUll-Time              D Pa rt-Time                                     D Law enforcement
       Hours Per Week (Average)                              40                                                            D Public interest legal services (See Section                          6)

             Include vacation, leave time, or any leave taken                                                              D Early childhood education (See Section                          6)

       under the Family Medical Leave Act of 1993.
                                                                                                                           D Public service for individuals with                       disabilities



9.     ls   your employer a governmental organization?
                                                                                                                           D Pu service for the elderly
                                                                                                                                    blic


                                                                                                                           D Public health (See Section                     6)
             A governmental organization                               a Federal, State,
       local, or Tribal        government organization, agency, or
                                                                  is
                                                                                                                           D Public education
       entity, a public child or family service                           agency, a Tribal                                 D Public        services
                                                                                                                                           library

       college or university, or the Peace Corps or
       AmeriCorps. Federal service includes military service.
                                                                                                                           D School         services
                                                                                                                                              library


             Yes - Skip to Section               4.
                                                                                                                           D Other school-based services
       D No        -   Continue to Item               10.
                                                                                                                           D None of the above the employer does not
                                                                                                                                                            -

                                                                                                                                 qualify.

SECTION 4: EMPLOYER CERTIFICATION (TO BE COMPLETED BY THE EMPLOYER)
By signing, I certify (1) that the information in Section 3 is true, complete, and correct to the best of my knowledge and
belief, (2) that am an authorized official (see Section 6) of the organization named in Section 3, and (3) that the borrower
                         |



named        in   Section     1    is   or was an employee of the organization                        named            in   Section      3.

Note: If any ofthe information                         is   crossed out or altered         in   Section      3,   you must          initial    those changes.
Ofﬁcial's         Name       Lee   F.   Carney                                                           Ofﬁcial's              Phone     31 5-437-1 108

Ofﬁcial's Title              G-1   Manpower NCOIC                                                        Ofﬁcial's Email



      Authorized Official's Signature
                                                                  CARNEY.LEE.F0NIEY.12397
                                                                  76597
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                                                                                                        40W
                                                                                                 Ddt‘ 2M1.11.15 1405.3!                              Date   1   1-1   5-2021
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                        EXHIBIT G
             Press Release dtd. October 2021
7/12/22, 7:31 PM     Case  5:22-cv-06897-SVK
                      U.S. Department                    Document
                                      of Education Announces           1-1 Changes
                                                             Transformational Filed to11/04/22       Page
                                                                                       the Public Service Loan51  of 123 Program, Will Put O…
                                                                                                               Forgiveness
                                                               EXHIBIT G
Skip to main content     About Us (https://www2.ed.gov/about/landing.jhtml)       Contact Us (https://www2.ed.gov/about/contacts/gen)
FAQs (https://www.ed.gov/answers/)            Language Assistance




         Search...


   ARCHIVED INFORMATION


   U.S. Department of Education Announces
   Transformational Changes to the Public Service
   Loan Forgiveness Program, Will Put Over 550,000
   Public Service Workers Closer to Loan Forgiveness
   OCTOBER 6, 2021


   Contact: Press Office, (202) 401-1576, press@ed.gov (mailto: press@ed.gov)


   Today, the U.S. Department of Education announced an overhaul of the Public Service Loan Forgiveness (PSLF)
   Program that it will implement over the next year to make the program live up to its promise. This policy will
   result in 22,000 borrowers who have consolidated loans—including previously ineligible loans—being
   immediately eligible for $1.74 billion in forgiveness without the need for further action on their part. Another
   27,000 borrowers could potentially qualify for an additional $2.82 billion in forgiveness if they certify additional
   periods of employment. All told, the Department estimates that over 550,000 borrowers who have previously
   consolidated will see an increase in qualifying payments with the average borrower receiving another two years
   of progress toward forgiveness. Many more will also see progress as borrowers consolidate into the Direct Loan
   program and apply for PSLF, and as the Department rolls out other changes in the weeks and months ahead.

   “Borrower who devote a decade of their live to public ervice hould be able to rely on the promi e of Public
   Service Loan Forgivene     The y tem ha not delivered on that promi e to date, but that i about to change for
   many borrower who have erved their communitie and their country,” aid U S Secretary of Education Miguel
   Cardona “Teacher , nur e , fir t re ponder , ervicemember , and o many public ervice worker have had
   our back e pecially amid the challenge of the pandemic Today, the Biden Admini tration i howing that we
   have their back , too ”

   The changes announced today include:

   A limited PSLF waiver that allows all payments by student borrowers to count toward PSLF, regardless
   of loan program or payment plan Thi waiver will allow tudent borrower to count all payment made on
   loan from the Federal Family Education Loan (FFEL) Program or Perkin Loan Program It will al o waive
   re triction on the type of repayment plan and the requirement that payment be made in the full amount and on
   time for all borrower To receive the e benefit , borrower will have to ubmit a PSLF form by October 31, 2022,
   which i a ingle application u ed to certify employment and evaluate a borrower for forgivene

   Borrowers who currently have FFEL, Perkins, or other non-Direct Loans, will get the benefit of this limited waiver
   if they apply to consolidate into the Direct Loan program and submit a PSLF form by October 31, 2022. The
   waiver applies to loans taken out by students.

https://www.ed.gov/news/press-releases/us-department-education-announces-transformational-changes-public-service-loan-forgiveness-program-will-…   1/4
7/12/22, 7:31 PM     Case  5:22-cv-06897-SVK
                      U.S. Department                    Document
                                      of Education Announces           1-1 Changes
                                                             Transformational Filed to11/04/22       Page
                                                                                       the Public Service Loan52  of 123 Program, Will Put O…
                                                                                                               Forgiveness
                                                               EXHIBIT G
   Allowing active duty service members to count deferments and forbearances toward PSLF. This solves a
   problem for service members who have paused payments while on active duty but were not getting credit toward
   PSLF.

   Automatically providing credit toward PSLF for military service members and federal employees using
   federal data matches. The Department will implement data matches next year to give these borrowers credit
   toward PSLF without an application.

   Reviewing denied PSLF applications for errors and giving borrowers the ability to have their PSLF
   determinations reconsidered. These actions will help identify and address servicing errors or other issues that
   have prevented borrowers from getting the PSLF credit they deserve.

   On Wednesday afternoon, Secretary Cardona and Under Secretary James Kvaal will meet with a group of public
   servants who stand to benefit from these changes, including a member of the Army National Guard, a math
   teacher, and an epidemiologist, among others.

   These changes represent a significant step in the Department’s efforts to transform the PSLF Program. The
   Department is exploring additional steps, such as partnerships with employers, to continue to make this process
   easier for borrowers. Last week, the Department released materials for the first session of negotiated
   rulemaking, including proposals to make lasting changes to make it easier for borrowers to make progress
   toward PSLF.

   Federal Student Aid will make more information available to borrowers at StudentAid.gov/PSLFWaiver
   (http://studentaid.gov/PSLFWaiver?
   utm content=&utm medium=email&utm name=&utm source=govdelivery&utm term=). In the coming weeks
   and months, the Department will communicate directly with borrowers about these changes to PSLF to help
   borrowers understand how they may benefit and any actions they may need to take. Borrowers should ensure
   that they have accounts on StudentAid.gov and that their contact information there is up to date.

   Including the borrowers eligible for immediate forgiveness under these actions, the Biden-Harris Administration
   has now approved more than $11.5 billion in loan cancellation for over 580,000 borrowers.


      Tags      Public Service Loan Forgivene             (PSLF) (/category/keyword/public ervice loan forgivene                    p lf)
    Pre      Relea e (/new /pre relea e )


   How Do I Find...?
          Student loans, forgiveness (https://www2.ed.gov/fund/grants-college.html?src=rn)
          Higher Education Rulemaking (https://www2.ed.gov/policy/highered/reg/hearulemaking/2021/index.html?
          src=rn)
          College accreditation (https://www.ed.gov/accreditation?src=rn)
          Every Student Succeeds Act (ESSA) (https://www.ed.gov/essa?src=rn)
          FERPA (https://studentprivacy.ed.gov?src=rn)
          FAFSA (https://fafsa.gov/?src=edgov-rn)
          1098, tax forms (https://www.ed.gov/1098-e?src=rn)
          More... (https://www2.ed.gov/about/top-tasks.html?src=rn)


   Information About...
          Elevating Teaching (http //www ed gov/teaching? rc rn)

https://www.ed.gov/news/press-releases/us-department-education-announces-transformational-changes-public-service-loan-forgiveness-program-will-…   2/4
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                      EXHIBIT H
             PSLF Waiver Online Description
7/12/22, 7:34   PM                                             Case 5:22-cv-06897-SVK
                                                                                PSLF WaiverDocument       1-1
                                                                                           Offers Way to Get     Filed
                                                                                                             Closer       11/04/22
                                                                                                                    lo Loan Forgiveness Page
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   E     An   oﬁclal website of the Unlted States government.
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   Home   >   Announcements       & Events   >   PSLF Walver Offers Way to Get Closer to Loan Forgiveness




                                                                                                                Lay    Points:   PSLF Summary       of   Changei                                       I




    PSLF Waiver Oﬁers Way to Get Closer to Loan Forgiveness
   On Oct.          6,   2021, the U.S. Department of Education (ED)                               announced a change             to Public Service         Loan Forgiveness (PSLF) program rules
   for a limited time as a result of the COVID-19 emergency.                                             Throughout the emergency, ED has provided a variety of benefits                                   to

   borrowers.

   Now, for a limited time, borrowers may receive credit for past periods of repayment that would otherwise not qualify for
   PSLF.

   Note: If you are               new to PSLF and want some background about the program, please visit our P§LF infgrmagign Egg information
   page.




          A Pledge for PSLF Borrowers
          Our announcement about the limited PSLF waiver has generated great interest and many questions, including how it affects
          you. We are hard at work reviewing and updating student loan accounts to address these major changes. Some borrowers
          have already received forgiveness. A message from Richard Cordray, Chief of Federal Student Aid, describes mmgrggg Qn
          PSLF and hgw Lg ghggk Qn                           yw.

   Key          Points:           PSLF Summary                           of   Changes

                0        For a limited time, you                may receive credit for past periods of repayment on loans that would otherwise not qualify for
                         PSLF.

                0        If you   have Federal Family Education (FFEL) Program loans, Perkins, or other federal student loans, you‘ll need to
                         consolidate your loans into a Direct Consolidation                                 Loan   to qualify for PSLF,    both in general and under the waiver.
                         Before consolidating,                make sure to check to              see if you     work for a       qualifying employer.

                0        Past periods of repayment will                       now count whether or not you made a payment, made that payment on time, for the full
                         amount due, or on a                 qualifying repayment plan.

                0        Forbearance periods of 12 consecutive months or greater, or 36 cumulative months or greater wﬂl count under the
                         waiver. In      fall        2022,   ED will begin making account adjustments to include these periods. Forbearance periods provided
                         by the COVID-19 Emergency Relief Flexibilities are not included toward these months.

                0        Months spent in deferment before 2013                               will count     under the waiver. Additionally, ED will include Economic Hardship
                         Deferment on or after January                        1,       2013. These periods of deferment will also be applied to your account in fall 2022.

                0        Periods of default and in-school deferment,                             still   do not   qualify.



          Note: The qualifying                        employment requirement has not changed. To determine if your employer qualifies for PSLF, use our
          mpl_oyer search                    tool.




   New          Rules for Qualifying Payments
   Under the new temporary rules, any prior period of repayment will count as a qualifying payment, regardless of loan progria                                                                                            /


   repayment plan, or Whether the payment was made 1n full or on tune. But you do contmue to need quahfymg employment.

httpszllstudentaid.gov/annou ncements—events/pslf-limited-waiver                                                                                                                                                                   1/6
7/12/22, 7:34 PM                  Case 5:22-cv-06897-SVK
                                                    PSLF WaiverDocument       1-1
                                                               Offers Way to Get     Filed
                                                                                 Closer       11/04/22
                                                                                        to Loan Forgiveness | Page    55 of Aid
                                                                                                              Federal Student 123
                                                                     EXHIBIT H
   This change will apply to borrowers with Direct Loans, those who have already consolidated into the Direct Loan Program, and those
   who consolidate into the Direct Loan Program by Oct. 31, 2022.

   Periods of repayment on parent PLUS loans are not eligible under the limited PSLF waiver. See below for more information about
   how this might (or might not) affect you.

   Requirements to receive additional qualifying payments:



          Full-time Employment

          You must have worked full time for a qualifying employer during the calendar month you were also in repayment on your
          loan. You can receive credit only for periods of repayment after Oct. 1, 2007, when the PSLF Program began. If you haven’t
          done so already, you must file a Public Service Loan Forgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF) Certification &
          Application (PSLF form) for any period where you are seeking additional credit toward PSLF.




          Loan Consolidation

          If you have Federal Family Education Loan (FFEL) Program loans, Federal Perkins Loans, or other types of federal student
          loans that are not Direct Loans (for example, those from older loan programs, such as Federally Insured Student Loans
          [FISL] or National Defense Student Loans [NDSL]), you must consolidate those loans into the Direct Loan program by Oct. 31,
          2022. Pro tip: You can log in to Aid Summary to find out how many and what types of loans you have.




   Which PSLF Requirements Are Waived
   Here’s what’s changed and what’s unchanged as of Oct. 6, 2021.


      Normal PSLF Requirements                                             Changes Until Oct. 31, 2022


              Receive credit only on Direct Loans                               Receive credit for periods of repayment on Direct, FFEL, or Perkins Loans
              Repay under the 10-year Standard Plan or an income-driven         Periods of repayment under any plan count
              repayment plan                                                    Periods of repayment on loans before consolidation count, even if on the wrong
              Make on-time payments                                             repayment plan
              Need to be employed fulltime for a qualifying employer in         Periods of repayment where payments were late or for less than the amount due
              order to receive credit                                           also count
              Must work for a qualifying employer at the time of                Periods of repayment on loans before consolidation count, even if paid late or for
              application and forgiveness                                       less than the amount due
              If you got Teacher Loan Forgiveness, the period of service        Can get forgiveness even if not employed or not employed by a qualifying
              that led to your eligibility cannot also count toward PSLF        employer at the time of application and forgiveness
                                                                                If you got Teacher Loan Forgiveness, the period of service that led to your eligibility
                                                                                can count toward PSLF if you certify PSLF employment for that period



   Unchanged Requirements

            Making 120 qualifying payments or the equivalent

            Being employed by government, 501(c)(3) not-for-profit, or other not-for-profit organization that provides a qualifying service*

            Working full time

            Having Direct Loans or consolidating into Direct Consolidation Loans

            Certifying qualifying employment for the periods you seek credit toward PSLF


   *Employment at a for-profit organization does not qualify


   How to Find Out If You Qualify for Additional Payments
   The action you need to take will depend on the types of loans you have outstanding. Find out what types of loans you have.
https://studentaid.gov/announcements-events/pslf-limited-waiver                                                                                                           2/6
7/12/22, 7:34   PM                                       Case 5:22-cv-06897-SVK
                                                                          PSLF WaiverDocument       1-1
                                                                                     Offers Way to Get     Filed
                                                                                                       Closer       11/04/22
                                                                                                              to Loan Forgiveness Page
                                                                                                                                 |
                                                                                                                                  Federal 56  of Aid
                                                                                                                                          Student 123
                                                                                           EXHIBIT H


                0 Visit Aid           ﬁgmmary (you’ll be asked t0 log in to your account in order to view the page).

                0    Scroll         down to the Loan Breakdown section.

                     In the         Loan Breakdown            section, you’ll see a list of each loan     you took out, even those you paid             off or consolidated into a
                     new loan.

                     If you         expand View Loans, then    View Loan Details arrow next to a loan, you’ll see a more detailed name for
                                                                       select the

                     that loan. Direct Loans begin with the word “Direct.” Federal Family Education Loan Program loans start with “FFEL.”
                     Perkins Loans include the word “Perkins” in the name. Parent PLUS loans are not eligible under the limited PSLF
                     waiver.

                0    Once you know what types of loans you have, read on to see what you can do                                      to get additional qualifying   payments.




    Next Steps:                     How to See           If   You Qualify
   Once you know the type of loans you have, read on                                to see   what you can do to      get additional qualifying payments.




         |   have at least one outstanding FFEL Program                                 loan, Federal Perkins Loan, or                 uncommon         older federal
                                                                                                                                                                                G)
         student loan.




         I   have a Direct Loan but have not submitted an Employment Certiﬁcation Form (ECF) or PSLF form.                                                                      ®

         |   have a Direct Loan and have already submitted an ECF or PSLF form.                                                                                                 ®

   Q&As
   Please read the following question                          and answer section      to help   you understand this limited PSLF opportunity.




         Why can            |   get credit for payments                now even though was       |       ineligible before?                                                     ®

         Why do         l   have to consolidate                  my   loans or ﬁle a     PSLF form by         Oct. 31,     2022?                                                ®

             got a    letter         from   MOHELA with               updated qualifying payment counts. Does this include those related to the
         |




         limited       PSLF waiver?
                                                                                                                                                                                ®


         How         does ED know that want to get PSLF credit under the waiver? What prompt ED to review                                                       my
                                                     l

                                                                                                                                                                                9
         account?




         When can               l   expect to see a change              in   my qualifying payment count?                                                                       ®

         My consolidation loan was just disbursed and the employment certiﬁcation                                                    on   my PSLF form was just                      x,




         approved. How long will it take for my payment counts to be updated?
                                                                                                                                                                            (E
                                                                                                                                                                            VJ
https:l/studentaidVgov/annou ncements—events/pslf-limited-waiver                                                                                                                          3/6
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 57 of 123




                          EXHIBIT I
                Letter, dtd. December 2021
           Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 58 of 123
                                      EXHIBIT I


                                                                     December 21, 2021


To whom          it   may conoem;

l   am a   military service          member and           also a borrower working       in   public sewice.   l   am and   have     at   all

relevant times been eligible forthe Public Service Loan Forgiveness (PSLF) program and for Income-
Based Repayment (IBR), which is a subset of Income-Driven Repayment (IDR) plans. You (PHEAA and
its subsidian’es, employees, or agents acting on behalf of PHEA) have violated applicable federal and

state laws           and substantially          interfered with   my right as   a borrower to alternative payment anangements,
loan forgiveness, and other ﬁnancial beneﬁts, as described                           in more detail below. I demand that you:



1.    Credit          my account in the amount 0f $32,398.54                    ($9,495.80 + 522302.741:


            a)        The amount of $9,495.80 reﬂects the payments and interest capitalization you charged to my
                      account between July and October 2016, which you were legally required to credit back to my
                      account;


            b)        The $22,902.74            reﬂects the difference between the      payment you charged for January 2020
                      ($1 ,583.84) and the monthly payment amount                  due under IBR ($1 62.26), plus the amount you
                      added to the principal balance on my account                 in   January 2020, noted as        interest
                                                These charges resulted from your failure to timely process the
                      capitalization ($21 .481 .16).
                      IBR paperwork submitted in September 2019. You contacted me regarding my IBR plan on
                                            I



                      or about December 4 2019, stating “Your payments could increase! Act now.” In response to
                 -


                      my  immediate reply you stated: “We received your complete request for an lncome-Dn'ven
                      Repayment (IDR) plan on September 20, 201 9. Once your request is processed, we will send
                      you a notice with the resuIts." Although acted immediately in response to your messages to
                                                                            |




                      me, you failed to timely compete processing of my paperwork and as a result was charged                   I



                      the higher monthly payment amount, and the additional amount you charged, which you
                      noted as interest capitalization, increasing my total outstanding balance.

2.    ungalg          all   gmgﬂ [epom'ng aggngigs gng venfy' mat the outstanding balance reﬂggteg gn                                              cmgﬂ
      reports         is    lowered by $32,398.54; and gay me a lump sum of $25,000:

            a)        The $32,398.4 reﬂects the              total   amount you are     to credit to   my account.

            b)        The $25,000 reﬂects compensation in the amount of $5,000 for each of the ﬁve yeals
                      beginning in 2017 and ending in 2021 dun‘ng which you incorrectly reported the outstanding
                      balance on      my    accounts to credit reporting agencies.

3.    Guarantee at least 1 03 gw_nents will count as gual'ﬁying gments for PSLF through
        ce     r 2021 a d
                                 '
                              ree to     e          en due s         It    n        'ec 'o
                                                                                                                            '                  '
        est"  as o t e ualiﬁc ‘o                of      ual' in    m           u
         o e ended contract w't the De             e o Edu atio 'n      ce   r
                                                 =
      (48+3+37+1 5:103: + 12 (contract extension) 115):

            a)        You have       previously stated that through July        2017 have made 48 qualifying payments on
                                                                                             I



                      loans   1, 2, 3, 4,   and     9;    and 49 qualifying payments on loans 5, 6, 7. 9, 10, and 11. For the
                      sake of simplicity,         this   is rounded down to 48.



            b)        You deemed     three payments ineligible (December 201 9, November 2016, and Apn‘l 2014)
                      because no bill was due for the payment period, and one payment (January 201 5) ineligible
                      because payment was received outside the payment window. However, Iwas on active duty
                      military service during each of these months, except November 2016. Therefore, under the
                      updated PSLF rules, at least three of these payments qualify for PSLF.
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 59 of 123
                                               EXHIBITI



c)   In September 2020,    submitted paperwork verifying my adive duty military service forthe
                                 I



     months listed below, but you have not yet accounted for the months from August 201? —
     September 2020 (3? monihs):

                i   Previously certiﬁed periods of active duty military service:
                        (1)June - October 2013
                       (2) March
                                 - December 201 4
                       (3) February
                                    — September2015
                       (4) February
                                    - October 2016
               ii   Employment certiﬁcation forms lsubmitted, but you have           failed to process:
                       (1) August 201?
                                        — September 2020 (37 months)

d)   Icontinue to serve on active duty and will remain on active duty through December 2021.                  I




     have submitted employment certiﬁcation forms to certify the months since September 202D,
     and will continue to submit certiﬁcation forms to make sure that document my eligibility for
           I                                                                     |




     each month of qualifying employment for purposes of PSLF. Through December 2021, that i5
     an additional 15 months beyond September 2020. This brings the total qualifying payments
     during the time you act as my loan servicer to 103. (48+3+37+1 5=1 03)


B)   You  will n0 longer be servicing my student loans after expiration of your contract with the
     Department of Education (DOE) in December 2021; which according to a press release you
     published on November 10, 2021, has been extended for another year. Consequently. may                I



     not be able to seek redress from you alter expiration of the extended term of your contract
     with DOE in December 2022. Loan fmgiveness under PSLF occurs after 120 qualifying
     payments. Therefore. |will be eligible for loan fomiveness aﬂer making 1? otherwise
     qualifying payments beyond the 103 qualifying payments through December 2021 during
     which time you act as sewicer of my loans, and during which lime continue to make my
                                                                                     I



     monthly payments while sewing on active duty military orders. Thai will be approximateiy B
     months after your extended contract with DOE expires.

     If, aﬂerl have made 17 additional otherwise qualifying payments (beyond the December

     2021 payment) and applied for loan forgiveness, any 0f the qualifying payments made while      |




     you were my loan sewicer I's questioned or rejected as a qualifying payment for purposes of
     PSLF. you will make as many additional payments on my behalf as is equal to the number of
     payments that have been questioned. rejected, or otherwise caused delay to forgiveness of
     my loans. You need not make any payments if none ofthe 103 payments is rejected, but


Please contact
speciﬁc time—fmme and
                              atal
     other payments are rejected.


                       me
                                                               ‘




                                                             your earliest convenience to discuss the
                                manner for your compliance with the above     requests.



                                                            Sincerely.




                                                            Christian Wellisch
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 60 of 123




                     EXHIBIT J
  Email from FedLoan’s Counsel dtd. March 8, 2022
                   Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 61 of 123
                                              EXHIBIT J




PHEAA/FLS
1 me   age

Bradley, Donald <D.Bradley@musickpeeler.com>                                                                              Tue, Mar 8, 2022 at 8:16 AM
To: Chris


 Captain Wellisch—as you may recall, I was the attorney for PHEAA in connection with your prior litigation against PHEAA.
 PHEAA ha learned that you filed and hortly thereafter di mi ed a new law uit again t PHEAA o our knowledge the
 complaint was never served, but I have reviewed it and PHEAA has asked me to reach out to you to inquire whether there
 are any issues with your student loans with which you would like assistance.



 If so, please feel free to email or call me and I can put you directly in touch with the appropriate PHEAA representative(s).
 I hope you are well.




 Donald E. Bradley
 Partner



 Mus ck, Pee er & Garrett LLP                      Down oad V-Card
 650 Town Center Dr ve Su te 1200                  d brad ey@mus ckpee er com                         T (714) 668-2447
  osta Mesa, a fo n a 92626 1925                   www mus c pee e com                                  (714) 668 2490



                     Los Angeles Orange County San Diego San Francisco Ventura County




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 ema to adm n strator@mus ckpee er com and de ete the message and any attachments Thank you
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                        EXHIBIT K
                Decl’n of Shannon Wurmb
                      Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 63 of 123
                                                EXHIBIT K


                                                                                ELECTRONICALLY FILED BY
                 1 MUSICK, PEELER & GARRETT LLP                                 Superior Court of California,
                            650 Town Center Drive, Suite 1200                   County of Monterey
                 2          Costa Mesa, California 92626-1925                   On 7/1/2022 5:05 PM
                                Telephone (714) 668-2400                        By: Breean Boatwright, Deputy
                 3              Facsimile (714) 668-2490
                     Donald E. Bradley (State Bar No. 145037)
                 4    d.bradley@musickpeeler.com
                 5 Attorneys for Defendant PENNSYLVANIA HIGHER

                 6 EDUCATION ASSISTANCE AGENCY

                 7

                 8
                                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 9

             10                           COUNTY OF LOS ANGELES, CENTRAL DISTRICT

             11 Christian Wellisch,                                    Case No. 22CV001497

             12                     Petitioner,                        Hon. Julie R. Culver, Department 13
             13             vs.                                        DECLARATION OF SHANNON WURMB
             14                                                        IN SUPPORT OF RESPONSE OF
                Pennsylvania Higher Education Assistance               PENNSYLVANIA HIGHER EDUCATION
             15 Agency,                                                ASSISTANCE AGENCY TO PETITION
                                                                       FOR RELIEF FROM FINANCIAL
             16                     Respondent.                        OBLIGATION DURING MILITARY
                                                                       SERVICE
             17

             18                                                        Date:    July 8, 2022
                                                                       Time:    8:30 a.m.
             19                                                        Dept.:   13

             20
                                                                       Action Filed:    May 31, 2022
             21

             22             I, Shannon Wurmb, hereby declare as follows:

             23             1.      I am a Production Support Analyst at PHEAA.

             24             2.      I have reviewed Wellisch’s Petition for Relief from Financial Obligation During

             25 Military service. I have also reviewed Wellisch’s Complaint he filed and dismissed in December,

             26 2020. The allegations in these documents are similar.

             27             3.      I have analyzed PHEAA’s internal records regarding Wellisch’s account and have

             28 personal knowledge of PHEAA’s interactions with Wellisch regarding his account.
MUSICK, PEELER
& GARRETT LLP
                        DECLARATION OF SHANNON WURMB IN SUPPORT OF RESPONSE OF PHEAA TO PETITION FOR
                                  RELIEF FROM FINANCIAL OBLIGATION DURING MILITARY SERVICE
                      Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 64 of 123
                                                EXHIBIT K



                 1               4.     PHEAA complied with the Court’s Order to refund Wellisch $9,495.80.

                 2 Specifically, PHEAA reversed capitalized interest on Wellisch’s account in the amount of

                 3 $5,295.08. Further, PHEAA issued Wellisch three checks on January 30, 2018 in the amounts of

                 4 $1,400.92, $1,400.92, and $1,400.93, for a total of $4,202.77. These checks, combined with the

                 5 $5,295.08, total $9,497.85, slightly above the amount required to be paid pursuant to the Court

                 6 Order.

                 7               5.     The capitalization of $22,902.74 in interest was due to Wellisch’s failure in 2019 to

                 8 submit a completed Income-Driven Repayment recertification request. The actual amount of

                 9 recapitalized interest was $21,481.16. In any event, the majority of this amount was discharged

             10 via a limited waiver with effective dates of May and July 2018. The adjusted amount of interest

             11 that capitalized on January 1, 2020 is $2,669.27.

             12                  I declare under penalty of perjury pursuant to the laws of the States of California and
                                                                                   1
             13 Pennsylvania that the foregoing is true and correct. Executed this _____ day of July, 2022, at

             14 Harrisburg, Pennsylvania.

             15
                                                                                      Shannon Wurmb
             16

             17

             18

             19

             20

             21

             22

             23

             24

             25

             26

             27

             28
MUSICK, PEELER
& GARRETT LLP
                     2000407.1                                             1
                         DECLARATION OF SHANNON WURMB IN SUPPORT OF RESPONSE OF PHEAA TO PETITION FOR
                                   RELIEF FROM FINANCIAL OBLIGATION DURING MILITARY SERVICE
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 65 of 123




                       EXHIBIT L
         FedLoan’s Record of Loan Transactions
             L-1: dtd. December 27, 2020
                L-2: dtd. July 14, 2022
                      Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 66 of 123
                                                EXHIBIT L-1
                                                                  (return to chart)




FedLoan Servicing (A Department of Education Servicer) Transaction History as of 10/27/2020.
Note: When importing this document to other software please remove the first two rows.
Effective Date     Loan Type         Transaction Type              Amount      Interest      Principal       Balance
03/10/2020         All Loans         Payment                         $25.20     $25.20          $0.00    $176,210.41
03/10/2020         All Loans         Payment                         $57.19     $57.19          $0.00    $176,210.41
02/10/2020         All Loans         Payment                         $57.19     $57.19          $0.00    $176,210.41
02/10/2020         All Loans         Payment                         $25.20     $25.20          $0.00    $176,210.41
01/10/2020         All Loans         Payment                       $468.38      $54.98        $413.40    $176,210.41
01/10/2020         All Loans         Payment                      $1,115.46   $173.81         $941.65    $176,623.81
01/01/2020         All Loans         Interest Capitalizatio           $0.00 $21,481.16    +$21,481.16    $177,565.46
11/10/2019         All Loans         Payment                       $112.64    $112.64           $0.00    $156,084.30
11/10/2019         All Loans         Payment                         $49.62     $49.62          $0.00    $156,084.30
10/10/2019         All Loans         Payment                       $112.64    $112.64           $0.00    $156,084.30
10/10/2019         All Loans         Payment                         $49.62     $49.62          $0.00    $156,084.30
09/10/2019         All Loans         Payment                       $112.64    $112.64           $0.00    $156,084.30
09/10/2019         All Loans         Payment                         $49.62     $49.62          $0.00    $156,084.30
08/10/2019         All Loans         Payment                       $162.26    $162.26           $0.00    $156,084.30
07/10/2019         All Loans         Payment                       $162.26    $162.26           $0.00    $156,084.30
06/10/2019         All Loans         Payment                       $162.26    $162.26           $0.00    $156,084.30
05/10/2019         All Loans         Payment                       $162.26    $162.26           $0.00    $156,084.30
04/10/2019         All Loans         Payment                       $162.26    $162.26           $0.00    $156,084.30
03/10/2019         All Loans         Payment                       $162.26    $162.26           $0.00    $156,084.30
02/10/2019         All Loans         Payment                       $162.26    $162.26           $0.00    $156,084.30
01/10/2019         All Loans         Payment                       $162.26    $162.26           $0.00    $156,084.30
12/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
11/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
10/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
09/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
08/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
07/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
06/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
05/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
04/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
03/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
02/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
01/10/2018         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
12/10/2017         All Loans         Payment                         $90.21     $90.21          $0.00    $156,084.30
11/10/2017         All Loans         Payment                       $131.87    $131.87           $0.00    $156,084.30
10/10/2017         All Loans         Payment                       $131.87    $131.87           $0.00    $156,084.30
09/10/2017         All Loans         Payment                       $131.87    $131.87           $0.00    $156,084.30
08/10/2017         All Loans         Payment                       $131.87    $131.87           $0.00    $156,084.30
07/10/2017         All Loans         Payment                       $131.87    $131.87           $0.00    $156,084.30
06/10/2017         All Loans         Payment                       $131.87    $131.87           $0.00    $156,084.30
05/10/2017         All Loans         Payment                       $131.87    $131.87           $0.00    $156,084.30


                                                                         1
                   Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 67 of 123
                                             EXHIBIT L-1




Effective Date   Loan Type   Transaction Type          Amount       Interest     Principal       Balance
04/10/2017       All Loans   Payment                   $131.87     $131.87          $0.00    $156,084.30
03/10/2017       All Loans   Payment                   $131.87     $131.87          $0.00    $156,084.30
02/10/2017       All Loans   Payment                   $131.87     $131.87          $0.00    $156,084.30
01/10/2017       All Loans   Payment                   $131.87     $131.87          $0.00    $156,084.30
12/10/2016       All Loans   Payment                   $131.87     $131.87          $0.00    $156,084.30
12/01/2016       All Loans   Interest Capitalizatio       $0.00   $4,260.92    +$4,260.92    $156,084.30
10/10/2016       All Loans   Payment                  $1,400.93   $1,094.91       $306.02    $151,823.38
10/10/2016       All Loans   Payment                   $182.91     $182.41          $0.50    $152,129.40
09/10/2016       All Loans   Payment                  $1,400.92   $1,301.99        $98.93    $152,129.90
09/10/2016       All Loans   Payment                   $182.92     $182.53          $0.39    $152,228.83
08/10/2016       All Loans   Payment                  $1,400.92   $1,380.53        $20.39    $152,229.22
08/10/2016       All Loans   Payment                   $182.92     $182.54          $0.38    $152,249.61
07/10/2016       All Loans   Payment                   $182.92     $182.46          $0.46    $152,249.99
06/10/2016       All Loans   Payment                   $182.92     $182.55          $0.37    $152,250.45
05/10/2016       All Loans   Payment                   $182.92     $182.46          $0.46    $152,250.82
04/10/2016       All Loans   Payment                   $182.92     $182.55          $0.37    $152,251.28
04/01/2016       All Loans   Interest Subsidy          $139.32     $139.32          $0.00    $152,251.65
03/10/2016       All Loans   Payment                   $182.92     $182.37          $0.55    $152,251.65
03/10/2016       All Loans   Interest Subsidy             $5.92       $5.92         $0.00    $152,252.20
03/01/2016       All Loans   Interest Subsidy          $126.39     $126.39          $0.00    $152,252.20
02/10/2016       All Loans   Payment                   $182.92     $182.55          $0.37    $152,252.20
02/10/2016       All Loans   Interest Subsidy             $7.88       $7.88         $0.00    $152,252.57
02/01/2016       All Loans   Interest Subsidy          $150.09     $150.09          $0.00    $152,252.57
01/10/2016       All Loans   Payment                   $182.92     $182.55          $0.37    $152,252.57
01/10/2016       All Loans   Interest Subsidy            $10.32      $10.32         $0.00    $152,252.94
01/01/2016       All Loans   Interest Subsidy          $150.55     $150.55          $0.00    $152,252.94
12/10/2015       All Loans   Payment                   $182.92     $182.47          $0.45    $152,252.94
12/10/2015       All Loans   Interest Subsidy            $10.45      $10.45         $0.00    $152,253.39
12/01/2015       All Loans   Interest Subsidy          $143.59     $143.59          $0.00    $152,253.39
11/10/2015       All Loans   Payment                   $182.92     $182.56          $0.36    $152,253.39
11/10/2015       All Loans   Interest Subsidy            $10.45      $10.45         $0.00    $152,253.75
11/01/2015       All Loans   Interest Subsidy          $150.55     $150.55          $0.00    $152,253.75
10/10/2015       All Loans   Payment                   $182.92     $182.47          $0.45    $152,253.75
10/10/2015       All Loans   Interest Subsidy            $10.45      $10.45         $0.00    $152,254.20
10/01/2015       All Loans   Interest Subsidy          $133.28     $133.28          $0.00    $152,254.20
09/10/2015       All Loans   Payment                   $182.92     $182.56          $0.36    $152,254.20
09/10/2015       All Loans   Interest Subsidy             $6.03       $6.03         $0.00    $152,254.56
09/01/2015       All Loans   Interest Subsidy          $139.75     $139.75          $0.00    $152,254.56
08/10/2015       All Loans   Payment                   $182.92     $182.56          $0.36    $152,254.56
08/10/2015       All Loans   Interest Subsidy             $6.03       $6.03         $0.00    $152,254.92
08/01/2015       All Loans   Interest Subsidy          $139.75     $139.75          $0.00    $152,254.92
07/10/2015       All Loans   Payment                   $182.92     $182.48          $0.44    $152,254.92
07/10/2015       All Loans   Interest Subsidy             $6.03       $6.03         $0.00    $152,255.36


                                                          2
                   Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 68 of 123
                                             EXHIBIT L-1




Effective Date   Loan Type   Transaction Type          Amount       Interest     Principal       Balance
07/01/2015       All Loans   Interest Subsidy             $0.00       $0.00         $0.00    $152,255.36
06/10/2015       All Loans   Payment                  $1,580.15    $677.25        $902.90    $152,255.36
05/17/2015       All Loans   Rebate Adjustment          +$73.00       $0.00       +$73.00    $153,158.26
05/10/2015       All Loans   Payment                  $1,583.84    $308.92      $1,274.92    $153,085.26
05/01/2015       All Loans   Interest Capitalizatio       $0.00   $6,886.94    +$6,886.94    $154,360.18
05/01/2015       All Loans   Interest Subsidy          $138.97     $138.97          $0.00    $147,473.24
04/10/2015       All Loans   Payment                     $19.78      $19.78         $0.00    $147,473.24
04/10/2015       All Loans   Interest Subsidy            $52.72      $52.72         $0.00    $147,473.24
04/01/2015       All Loans   Interest Subsidy            $99.60      $99.60         $0.00    $147,473.24
03/17/2015       All Loans   Payment                     $19.78      $19.78         $0.00    $147,473.24
03/17/2015       All Loans   Interest Subsidy          $104.39     $104.39          $0.00    $147,473.24
03/01/2015       All Loans   Interest Subsidy          $180.58     $180.58          $0.00    $147,473.24
02/03/2015       All Loans   Payment                     $39.56      $39.56         $0.00    $147,473.24
02/03/2015       All Loans   Interest Subsidy             $7.22       $7.22         $0.00    $147,473.24
02/01/2015       All Loans   Interest Subsidy          $223.97     $223.97          $0.00    $147,473.24
01/01/2015       All Loans   Interest Subsidy          $223.97     $223.97          $0.00    $147,473.24
12/01/2014       All Loans   Interest Subsidy            $74.44      $74.44         $0.00    $147,473.24
11/21/2014       All Loans   Payment                     $28.24      $28.24         $0.00    $147,473.24
11/21/2014       All Loans   Interest Subsidy          $142.09     $142.09          $0.00    $147,473.24
11/01/2014       All Loans   Interest Subsidy          $223.97     $223.97          $0.00    $147,473.24
10/01/2014       All Loans   Interest Subsidy            $14.86      $14.86         $0.00    $147,473.24
09/29/2014       All Loans   Payment                     $30.00      $30.00         $0.00    $147,473.24
09/29/2014       All Loans   Interest Subsidy          $201.66     $201.66          $0.00    $147,473.24
09/01/2014       All Loans   Interest Subsidy          $223.97     $223.97          $0.00    $147,473.24
08/01/2014       All Loans   Interest Subsidy          $223.97     $223.97          $0.00    $147,473.24
07/01/2014       All Loans   Interest Subsidy          $216.55     $216.55          $0.00    $147,473.24
06/01/2014       All Loans   Interest Subsidy          $156.99     $156.99          $0.00    $147,473.24
05/07/2014       All Loans   Payment                   $100.00     $100.00          $0.00    $147,473.24
04/01/2014       All Loans   Interest Capitalizatio       $0.00   $6,072.93    +$6,072.93    $147,473.24
04/01/2014       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
03/01/2014       All Loans   Interest Subsidy          $208.48     $208.48          $0.00    $141,400.31
02/01/2014       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
01/01/2014       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
12/01/2013       All Loans   Interest Subsidy          $223.37     $223.37          $0.00    $141,400.31
11/01/2013       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
10/01/2013       All Loans   Interest Subsidy          $223.37     $223.37          $0.00    $141,400.31
09/01/2013       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
08/01/2013       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
07/01/2013       All Loans   Interest Subsidy          $223.37     $223.37          $0.00    $141,400.31
06/01/2013       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
05/01/2013       All Loans   Interest Subsidy          $223.37     $223.37          $0.00    $141,400.31
04/01/2013       All Loans   Interest Capitalizatio       $0.00   $5,052.80    +$5,052.80    $141,400.31
04/01/2013       All Loans   Interest Subsidy             $0.00       $0.00         $0.00    $136,347.51


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                                             EXHIBIT L-1




Effective Date   Loan Type   Transaction Type          Amount      Interest      Principal       Balance
11/09/2012       All Loans   Payment                   $528.98     $522.49          $6.49    $136,347.51
09/28/2012       All Loans   Interest Capitalizatio       $0.00 $3,618.71      +$3,618.71    $136,354.00
09/14/2012       All Loans   Balance Adjustment        $119.10     $119.10          $0.00    $132,735.29
09/14/2012       All Loans   Disbursement           +$27,100.16   +$799.01    +$26,301.15    $132,735.29
07/27/2012       All Loans   Balance Adjustment           $6.66      $6.66          $0.00    $106,434.14
07/27/2012       All Loans   Disbursement           +$30,843.75 +$1,272.88    +$29,570.87    $106,434.14
06/27/2012       All Loans   Balance Adjustment           $6.67      $6.67          $0.00     $76,863.27
06/27/2012       All Loans   Balance Adjustment           $7.41      $7.41          $0.00     $76,863.27
06/27/2012       All Loans   Balance Adjustment           $4.67      $4.67          $0.00     $76,863.27
06/27/2012       All Loans   Balance Adjustment           $5.24      $5.24          $0.00     $76,863.27
06/27/2012       All Loans   Disbursement           +$62,879.17   +$972.08    +$61,907.09     $76,863.27
02/13/2012       All Loans   Disbursement            +$5,025.00      $0.00     +$5,000.00     $14,956.18
06/10/2011       All Loans   Interest Capitalizatio       $0.00    $298.18       +$298.18      $9,956.18
08/18/2010       All Loans   Disbursement            +$9,706.00      $0.00     +$9,658.00      $9,658.00




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                                                EXHIBIT L-2
                                                                  (return to chart)




FedLoan Servicing (A Department of Education Servicer) Transaction History as of 07/14/2022.
Note: When importing this document to other software please remove the first five rows.
Name:              CHRISTIAN D WELLISCH
Account Number:    4803567678
Re:                CHRISTIAN D WELLISCH
Effective Date     Loan Type    Transaction Type          Amount                        Interest      Principal       Balance
03/10/2020         All Loans    Payment                      $9.16                        $9.16          $0.00     $19,872.07
02/10/2020         All Loans    Payment                      $9.16                        $9.16          $0.00     $19,872.07
01/10/2020         All Loans    Payment                   $186.64                        $28.31        $158.33     $19,872.07
01/01/2020         All Loans    Interest Capitalizatio       $0.00                    $2,669.27     +$2,669.27     $20,030.40
11/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
10/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
09/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
08/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
07/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
06/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
05/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
04/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
03/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
02/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
01/10/2019         All Loans    Payment                     $18.05                       $18.05          $0.00     $17,361.13
12/10/2018         All Loans    Payment                     $10.05                       $10.05          $0.00     $17,361.13
11/10/2018         All Loans    Payment                     $10.05                       $10.05          $0.00     $17,361.13
10/10/2018         All Loans    Payment                     $10.05                       $10.05          $0.00     $17,361.13
09/10/2018         All Loans    Payment                     $10.05                       $10.05          $0.00     $17,361.13
08/10/2018         All Loans    Payment                     $10.05                       $10.05          $0.00     $17,361.13
07/31/2018         All Loans    Write-Off               $25,192.18                    $1,962.10     $23,230.08     $17,361.13
07/10/2018         All Loans    Payment                     $23.56                       $23.56          $0.00     $40,591.21
06/10/2018         All Loans    Payment                     $23.56                       $23.56          $0.00     $40,591.21
05/31/2018         All Loans    Write-Off              $123,300.57                    $7,807.48    $115,493.09     $40,591.21
05/10/2018         All Loans    Payment                     $90.21                       $90.21          $0.00    $156,084.30
04/10/2018         All Loans    Payment                     $90.21                       $90.21          $0.00    $156,084.30
03/10/2018         All Loans    Payment                     $90.21                       $90.21          $0.00    $156,084.30
02/10/2018         All Loans    Payment                     $90.21                       $90.21          $0.00    $156,084.30
01/10/2018         All Loans    Payment                     $90.21                       $90.21          $0.00    $156,084.30
12/10/2017         All Loans    Payment                     $90.21                       $90.21          $0.00    $156,084.30
11/10/2017         All Loans    Payment                   $131.87                      $131.87           $0.00    $156,084.30
10/10/2017         All Loans    Payment                   $131.87                      $131.87           $0.00    $156,084.30
09/10/2017         All Loans    Payment                   $131.87                      $131.87           $0.00    $156,084.30
08/10/2017         All Loans    Payment                   $131.87                      $131.87           $0.00    $156,084.30
07/10/2017         All Loans    Payment                   $131.87                      $131.87           $0.00    $156,084.30
06/10/2017         All Loans    Payment                   $131.87                      $131.87           $0.00    $156,084.30
05/10/2017         All Loans    Payment                   $131.87                      $131.87           $0.00    $156,084.30
04/10/2017         All Loans    Payment                   $131.87                      $131.87           $0.00    $156,084.30


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                                             EXHIBIT L-2




Effective Date   Loan Type   Transaction Type          Amount       Interest     Principal       Balance
03/10/2017       All Loans   Payment                   $131.87     $131.87          $0.00    $156,084.30
02/10/2017       All Loans   Payment                   $131.87     $131.87          $0.00    $156,084.30
01/10/2017       All Loans   Payment                   $131.87     $131.87          $0.00    $156,084.30
12/10/2016       All Loans   Payment                   $131.87     $131.87          $0.00    $156,084.30
12/01/2016       All Loans   Interest Capitalizatio       $0.00   $4,260.92    +$4,260.92    $156,084.30
10/10/2016       All Loans   Payment                  $1,400.93   $1,094.91       $306.02    $151,823.38
10/10/2016       All Loans   Payment                   $182.91     $182.41          $0.50    $152,129.40
09/10/2016       All Loans   Payment                  $1,400.92   $1,301.99        $98.93    $152,129.90
09/10/2016       All Loans   Payment                   $182.92     $182.53          $0.39    $152,228.83
08/10/2016       All Loans   Payment                  $1,400.92   $1,380.53        $20.39    $152,229.22
08/10/2016       All Loans   Payment                   $182.92     $182.54          $0.38    $152,249.61
07/10/2016       All Loans   Payment                   $182.92     $182.46          $0.46    $152,249.99
06/10/2016       All Loans   Payment                   $182.92     $182.55          $0.37    $152,250.45
05/10/2016       All Loans   Payment                   $182.92     $182.46          $0.46    $152,250.82
04/10/2016       All Loans   Payment                   $182.92     $182.55          $0.37    $152,251.28
04/01/2016       All Loans   Interest Subsidy          $139.32     $139.32          $0.00    $152,251.65
03/10/2016       All Loans   Payment                   $182.92     $182.37          $0.55    $152,251.65
03/10/2016       All Loans   Interest Subsidy             $5.92       $5.92         $0.00    $152,252.20
03/01/2016       All Loans   Interest Subsidy          $126.39     $126.39          $0.00    $152,252.20
02/10/2016       All Loans   Payment                   $182.92     $182.55          $0.37    $152,252.20
02/10/2016       All Loans   Interest Subsidy             $7.88       $7.88         $0.00    $152,252.57
02/01/2016       All Loans   Interest Subsidy          $150.09     $150.09          $0.00    $152,252.57
01/10/2016       All Loans   Payment                   $182.92     $182.55          $0.37    $152,252.57
01/10/2016       All Loans   Interest Subsidy            $10.32      $10.32         $0.00    $152,252.94
01/01/2016       All Loans   Interest Subsidy          $150.55     $150.55          $0.00    $152,252.94
12/10/2015       All Loans   Payment                   $182.92     $182.47          $0.45    $152,252.94
12/10/2015       All Loans   Interest Subsidy            $10.45      $10.45         $0.00    $152,253.39
12/01/2015       All Loans   Interest Subsidy          $143.59     $143.59          $0.00    $152,253.39
11/10/2015       All Loans   Payment                   $182.92     $182.56          $0.36    $152,253.39
11/10/2015       All Loans   Interest Subsidy            $10.45      $10.45         $0.00    $152,253.75
11/01/2015       All Loans   Interest Subsidy          $150.55     $150.55          $0.00    $152,253.75
10/10/2015       All Loans   Payment                   $182.92     $182.47          $0.45    $152,253.75
10/10/2015       All Loans   Interest Subsidy            $10.45      $10.45         $0.00    $152,254.20
10/01/2015       All Loans   Interest Subsidy          $133.28     $133.28          $0.00    $152,254.20
09/10/2015       All Loans   Payment                   $182.92     $182.56          $0.36    $152,254.20
09/10/2015       All Loans   Interest Subsidy             $6.03       $6.03         $0.00    $152,254.56
09/01/2015       All Loans   Interest Subsidy          $139.75     $139.75          $0.00    $152,254.56
08/10/2015       All Loans   Payment                   $182.92     $182.56          $0.36    $152,254.56
08/10/2015       All Loans   Interest Subsidy             $6.03       $6.03         $0.00    $152,254.92
08/01/2015       All Loans   Interest Subsidy          $139.75     $139.75          $0.00    $152,254.92
07/10/2015       All Loans   Payment                   $182.92     $182.48          $0.44    $152,254.92
07/10/2015       All Loans   Interest Subsidy             $6.03       $6.03         $0.00    $152,255.36
07/01/2015       All Loans   Interest Subsidy             $0.00       $0.00         $0.00    $152,255.36


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                                             EXHIBIT L-2




Effective Date   Loan Type   Transaction Type          Amount       Interest     Principal       Balance
06/10/2015       All Loans   Payment                  $1,580.15    $677.25        $902.90    $152,255.36
05/17/2015       All Loans   Rebate Adjustment          +$73.00       $0.00       +$73.00    $153,158.26
05/10/2015       All Loans   Payment                  $1,583.84    $308.92      $1,274.92    $153,085.26
05/01/2015       All Loans   Interest Capitalizatio       $0.00   $6,886.94    +$6,886.94    $154,360.18
05/01/2015       All Loans   Interest Subsidy          $138.97     $138.97          $0.00    $147,473.24
04/10/2015       All Loans   Interest Subsidy            $52.72      $52.72         $0.00    $147,473.24
04/10/2015       All Loans   Payment                     $19.78      $19.78         $0.00    $147,473.24
04/01/2015       All Loans   Interest Subsidy            $99.60      $99.60         $0.00    $147,473.24
03/17/2015       All Loans   Payment                     $19.78      $19.78         $0.00    $147,473.24
03/17/2015       All Loans   Interest Subsidy          $104.39     $104.39          $0.00    $147,473.24
03/01/2015       All Loans   Interest Subsidy          $180.58     $180.58          $0.00    $147,473.24
02/03/2015       All Loans   Payment                     $39.56      $39.56         $0.00    $147,473.24
02/03/2015       All Loans   Interest Subsidy             $7.22       $7.22         $0.00    $147,473.24
02/01/2015       All Loans   Interest Subsidy          $223.97     $223.97          $0.00    $147,473.24
01/01/2015       All Loans   Interest Subsidy          $223.97     $223.97          $0.00    $147,473.24
12/01/2014       All Loans   Interest Subsidy            $74.44      $74.44         $0.00    $147,473.24
11/21/2014       All Loans   Interest Subsidy          $142.09     $142.09          $0.00    $147,473.24
11/21/2014       All Loans   Payment                     $28.24      $28.24         $0.00    $147,473.24
11/01/2014       All Loans   Interest Subsidy          $223.97     $223.97          $0.00    $147,473.24
10/01/2014       All Loans   Interest Subsidy            $14.86      $14.86         $0.00    $147,473.24
09/29/2014       All Loans   Payment                     $30.00      $30.00         $0.00    $147,473.24
09/29/2014       All Loans   Interest Subsidy          $201.66     $201.66          $0.00    $147,473.24
09/01/2014       All Loans   Interest Subsidy          $223.97     $223.97          $0.00    $147,473.24
08/01/2014       All Loans   Interest Subsidy          $223.97     $223.97          $0.00    $147,473.24
07/01/2014       All Loans   Interest Subsidy          $216.55     $216.55          $0.00    $147,473.24
06/01/2014       All Loans   Interest Subsidy          $156.99     $156.99          $0.00    $147,473.24
05/07/2014       All Loans   Payment                   $100.00     $100.00          $0.00    $147,473.24
04/01/2014       All Loans   Interest Capitalizatio       $0.00   $6,072.93    +$6,072.93    $147,473.24
04/01/2014       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
03/01/2014       All Loans   Interest Subsidy          $208.48     $208.48          $0.00    $141,400.31
02/01/2014       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
01/01/2014       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
12/01/2013       All Loans   Interest Subsidy          $223.37     $223.37          $0.00    $141,400.31
11/01/2013       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
10/01/2013       All Loans   Interest Subsidy          $223.37     $223.37          $0.00    $141,400.31
09/01/2013       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
08/01/2013       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
07/01/2013       All Loans   Interest Subsidy          $223.37     $223.37          $0.00    $141,400.31
06/01/2013       All Loans   Interest Subsidy          $230.79     $230.79          $0.00    $141,400.31
05/01/2013       All Loans   Interest Subsidy          $223.37     $223.37          $0.00    $141,400.31
04/01/2013       All Loans   Interest Capitalizatio       $0.00   $5,052.80    +$5,052.80    $141,400.31
04/01/2013       All Loans   Interest Subsidy             $0.00       $0.00         $0.00    $136,347.51
11/09/2012       All Loans   Payment                   $528.98     $522.49          $6.49    $136,347.51


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                                             EXHIBIT L-2




Effective Date   Loan Type   Transaction Type          Amount      Interest      Principal       Balance
09/28/2012       All Loans   Interest Capitalizatio       $0.00 $3,618.71      +$3,618.71    $136,354.00
09/14/2012       All Loans   Balance Adjustment        $119.10     $119.10          $0.00    $132,735.29
09/14/2012       All Loans   Disbursement           +$27,100.16   +$799.01    +$26,301.15    $132,735.29
07/27/2012       All Loans   Balance Adjustment           $6.66      $6.66          $0.00    $106,434.14
07/27/2012       All Loans   Disbursement           +$30,843.75 +$1,272.88    +$29,570.87    $106,434.14
06/27/2012       All Loans   Balance Adjustment           $6.67      $6.67          $0.00     $76,863.27
06/27/2012       All Loans   Balance Adjustment           $7.41      $7.41          $0.00     $76,863.27
06/27/2012       All Loans   Balance Adjustment           $4.67      $4.67          $0.00     $76,863.27
06/27/2012       All Loans   Balance Adjustment           $5.24      $5.24          $0.00     $76,863.27
06/27/2012       All Loans   Disbursement           +$62,879.17   +$972.08    +$61,907.09     $76,863.27
02/13/2012       All Loans   Disbursement            +$5,025.00      $0.00     +$5,000.00     $14,956.18
06/10/2011       All Loans   Interest Capitalizatio       $0.00    $298.18       +$298.18      $9,956.18
08/18/2010       All Loans   Disbursement            +$9,706.00      $0.00     +$9,658.00      $9,658.00




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                     EXHIBIT M
 Letter with Loan Balances, dtd. November 17, 2021
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                                                 EXHIBIT M



                                                                                                        WE RECEIVED
                                                                                                       YOUR PSLF FORM
    11/16/2021




                                                                                                      Account Number: 48 0356 7678
                #BWBBCFT
                #B301 7684 0011 17L2#




NOTE: The information contained in this communication is based on the current PSLF program regulations. FedLoan
Servicing will implement all PSLF Limited Waiver Program (LWP) regulation changes as directed by the U.S. Department of
Education (ED) when detailed instructions are provided specific to your account. Individual borrower account adjustments
must be provided by Federal Student Aid (FSA); we are working expeditiously to make adjustments as we receive
the required information. This means changes to your loans, if affected by the waiver, may not be reflected in this
correspondence. Please visit StudentAid.gov/pslfwaiver for more information including an estimated timeline for execution of
the LWP.

We received your Public Service Loan Forgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF) Certification &
Application (PSLF Form). We will review to make sure your PSLF Form is complete and to confirm you meet the following
criteria:

      ● You have been employed full-time by a public service organization or have served in a full-time AmeriCorps or
        Peace Corps position

If you have eligible loans and qualifying employment, we will evaluate how many qualifying payments you have made on
your Direct Loans while working full-time at a qualifying employer.

Important Information: In order to receive PSLF or TEPSLF, you must continue to work full-time for a PSLF qualifying
employer until the time your forgiveness is granted. We may contact your employer directly to confirm your employment
before granting forgiveness.

Do I need to continue to make payments? It depends. Generally, we recommend that you continue making payments
while your PSLF Form is being reviewed. If you specifically selected the option on your PSLF Form indicating you want a
forbearance* while your PSLF Form is being processed, AND if we determine that you have made 120 qualifying payments,
we will place the forbearance on your loans and send you confirmation. Please note the process of confirming your eligibility
and qualifying payments may take approximately 30-90 days.

If you requested a forbearance, we will suspend your obligation to make payments on these loans until we have time to
review all necessary documentation and determine your eligibility for forgiveness. Otherwise, you should continue to make
your payments until you receive confirmation that your payments have been suspended. Note: If you have other Direct
Loans that still require additional qualifying payments or have other non-Direct Loan types, you are still obligated to continue
making payments on these loans while applying for and after the forgiveness is granted. Any payment you make after the

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                                              EXHIBIT M (return to chart)
effective date of forgiveness will be refunded to you or applied toward the balance of any remaining loans held by the U.S.
Department of Education.

*A forbearance temporarily suspends your obligation to make payments. If we make a final determination that you are not
eligible for forgiveness, any outstanding interest due on your loans may be capitalized (added to your principal balance) at
the end of the forbearance period. You have the option to cancel the forbearance on your loans at any time. If you cancel,
any outstanding interest may be capitalized and payments will resume.

Will I have to pay income tax on the forgiveness amount? No. According to the Internal Revenue Service (IRS), student
loan amounts forgiven under the PSLF Program are not presently considered income for tax purposes. Please contact the
IRS or a tax advisor for more information.

Have additional questions about PSLF? Visit MyFedLoan.org/PSLF or contact one of our PSLF loan counselors.

Direct Loan Details


     Loan Sequence              Disbursement Date              Loan Program                   Outstanding Balance

           0001                      08/18/2010                   DLSTFD                                           $5,401.34

           0002                      08/18/2010                   DLUNST                                           $8,732.88

           0003                      02/13/2012                   DLSTFD                                           $5,916.14

           0004                      06/27/2012                   DLSCST                                          $10,729.98

           0005                      06/27/2012                   DLSCSC                                          $19,231.14

           0006                      06/27/2012                   DLSCST                                          $10,498.66

           0007                      06/27/2012                   DLSCUN                                          $19,641.17

           0008                      06/27/2012                   DLSCST                                           $2,521.82

           0009                      06/27/2012                   DLSCUN                                          $16,067.41

           0010                      07/27/2012                   DLSCPG                                          $45,592.86

           0011                      09/14/2012                   DLSCUC                                          $33,301.78
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 77 of 123




                      EXHIBIT N
  Letters Showing PSLF Forgiveness on Loans 4 - 11,
               dtd. February 16, 2022
                       Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 78 of 123
                                                  EXHIBIT N
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                                                       -
                                                           US. Department              of   Education
                                                           Immmaﬂnn about your federal student loan

                                                                                                                                  PUBLIC SERVICE LOAN
                                                                                                                                  FORGIVENESS UPDATE!

    February 16, 2022




                                                                                                                               Account Number: 48 0356 7678
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Congratulations! On Oct. 6, 2021 the Department of Education announced a change to the Public Service Loan
                                           ,



Forgiveness (PSLF) program rules for a limited time that allows you to get credit for payments you've made on loans that
wouldn't normally qualify for PSLF. As a result of this limited PSLF waiver tStudentAid.govlgslfwaiver), we conducted
another review of your Pubﬁc Service Loan Forgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF) Certiﬁcation &
Application (PSLF Form} and payment history. We have determined that you have successfully made the required 120
monthly payments in order to have all or a portion of your loans listed below forgiven.



Loans   Delai ls


  Loan Sequence               Loan Program                      DiSbgzeement                                                                         Outstanding Balance
                                                                                                 (PrﬁirggthaEgIQHireergst)

         0004                       DLSCST                          06;“272’2012                            10,096.29                                                 $0.00

         0005                       DLSCSC                          06l27f201 2                             18,359 .99                                                $0.00

         0006                       DLSCST                          06l27i201 2                             9,801 .64                                                 $0.00

         0007                       DLSCUN                          06.273201 2                             18,309.03                                                 $0.00

         0003                       DLSCST                          06f27i201 2                             2,529.96                                                  $0.00

         0009                       DLSCUN                          06l27i201 2                             15,095.89                                                 $0.00

         0010                       DLSCPG                          071‘27i2012                            42,539.40                                                  $0.00

         0011                       DLSCUC                          09H 432012                              31 ,76055                                                 $0.00


You have    satisﬁed your obligation and no additional payments are required                                  on these       loans.




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                   Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 79 of 123
                                             EXHIBIT N
Will I have to pay income tax on the forgiveness amount? No. According to the Internal Revenue Service (IRS), student
loan amounts forgiven under PSLF or TEPSLF are not considered income for tax purposes. Please contact the IRS or a tax
advisor for more information.
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 80 of 123




                       EXHIBIT O
   Letters Showing 98-99 PSLF-Qualifying Payments
                 dtd. January 7, 2022
                             Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 81 of 123
                                                                                                     EXHIBIT 0-1


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                                                                                                                                                     WE HAVE REVIEWED YOUR
                                                                                                                                                   REQUEST FOR PUBLIC SERVICE
                                                                                                                                                     LOAN FORGIVENESS (PSLF)
    January     6,    2022




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IMPORTANT UPDATE: On          October 6, 2021 the Department of Education announced a change to the Public Service Loan
                                                                          ,


Forgiveness (PSLF) program rules that, for a limited time, may allow you to get credit for payments you've made on loans
that wouldn't normally qualify for PSLF. This waiver period is temporary and will end on October 31, 2022. To gain more
information on this limited waiver period, including any actions you may need to take to gain access to these beneﬁts, visit
StudentAid.gov/ps|fwaiver.

We reviewed your Public Service Loan                           Forgiveness (PSLF)                      & Temporary Expanded PSLF (TEPSLF)                                         Certiﬁcation       &
Application     (PSLF Form) you submitted and determined                                            that   you do not      qualify for forgiveness at this time,                       as explained
below.

NOT ELIGIBLE     YET: You have not yet made the required 120 qualifying payments necessary to be eligible for PSLF. To
qualify forPSLF, you must make 120 qualifying payments. In addition to making 120 qualifying payments, you must also be
working fuII-time for a qualifying employer at the time you apply for and receive forgiveness under PSLF.

We have updated your account with the conﬁrmed qualifying employment periods based on the employment information
provided and        will   continue to track your                 eligibility for        PSLF and TEPSLF. The following                            chart details your progression toward
PSLF so far.

PSLF     Qualifying        Payment        Details
                                                                                                                                           .   .               PSLF                              .
                              .                                                                              .    .        PSLF Qualifying                            .       .           Estimated
              D'Sbursement                                                                  PSLF           Ellg'b'e                                     Guallfymg
Loan Sequence                                        Loan Program                                                              Payments                                                    Eligibility
                  Date                                                                              Payments                                            Payments
                                                                                                                                 (Total)                                  .   .         Date for PSLF
                                                                                                                                                       (Remaining)
         0001                 08/ 1 8/201 0                   DLSTFD                                   102                          98                            22                       03/2024
         0002                 08/1 8/201 0                    DLUNST                                   102                          98                            22                       03/2024
         0003                 02/1 3/201 2                    DLSTFD                                   102                          98                            22                       03/2024
         0004                 06/27/2012                      DLSCST                                   102                          98                            22                       03/2024
         0005                 06/27/2012                      DLSCSC                                   103                          99                            21                       01/2024
         0006                 06/27/2012                      DLSCST                                   103                          99                            21                       01/2024
         0007                 06l27/2012                      DLSCUN                                   103                          99                            21                       01/2024




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                                              EXHIBIT O-1
                                                                                                    PSLF
                                                                           PSLF Qualifying                         Estimated
              Disbursement                               PSLF Eligible                            Qualifying
Loan Sequence              Loan Program                                      Payments                               Eligibility
                  Date                                    Payments                                Payments
                                                                               (Total)                            Date for PSLF
                                                                                                 (Remaining)
        0008          06/27/2012         DLSCST                103                 99                21               01/2024
        0009          06/27/2012         DLSCUN                102                 98                22               03/2024
        0010          07/27/2012         DLSCPG                103                 99                21               01/2024
        0011          09/14/2012         DLSCUC                103                 99                21               01/2024

TEPSLF Candidates: We will send you separate correspondence with additional details, if you are eligible for
reconsideration under TEPSLF.

Good to Know! The charts above display the total number of eligible and qualifying payments you have made (out of the
required 120) on your eligible loans for PSLF and TEPSLF, including any periods we have assessed as eligible or
qualifying under the Limited PSLF Waiver. Please ensure that you have certified all periods of eligible employment.
If you believe you may have additional eligible employment, please submit a PSLF Form for the appropriate
period. For more details regarding your payments made towards both PSLF and TEPSLF, please visit us on the web at
MyFedLoan.org/PSLF.


Employment Information
               Employer Name                  Approved Employment Begin Date               Approved Employment End Date
        CALIFORNIA ARMY
                                                            06/16/2013                                  10/03/2013
        NATIONAL GUARD
            US ARMY                                         06/16/2013                                  10/05/2013
            US ARMY                                         06/16/2013                                  10/05/2013
            US ARMY                                         03/06/2014                                  12/31/2014
            US ARMY                                         02/05/2015                                  09/30/2015
            US ARMY                                         05/02/2016                                  10/23/2016
        CALIFORNIA ARMY
                                                            02/04/2016                                  10/26/2016
        NATIONAL GUARD
 STATE OF LEGISLATURE OF HAWAII                             01/03/2017                                  03/31/2017
      SECRETARY OF STATE                                    02/01/2007                                  05/24/2017
            US ARMY                                         08/01/2017                                  09/09/2020
            US ARMY                                         09/10/2020                                  11/15/2021

Note: This chart displays the periods of eligible employment approved to date. If the dates of employment that you
submitted on the form differ from those listed above, it may be due to overlapping employment periods, dates certified into
the future, or periods of employment on or before October 1, 2007 (which do not qualify for PSLF or TEPSLF). You may
access your online account at MyFedLoan.org for specific details regarding your loans and payments.

If you have any U.S. Department of Education owned student loans that are not already serviced by FedLoan Servicing, we
will contact your current servicers to request a transfer of all of your loans to us. This transfer will allow you to manage all of
your loans in one location and closely track your progression toward PSLF and TEPSLF. Please allow a few weeks for the
entire transfer process to be completed.

Qualifying Payment Tracking for Public Service Loan Forgiveness

Keeping track of your progression toward PSLF or TEPSLF is easy.

    ●    Log in to Account Access at MyFedLoan.org
    ●    Check your monthly bill
    ●    Review the communication that we send you each time you submit a new PSLF Form
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                                              EXHIBIT O-1
We will update your qualifying payment count each time you submit new certified employment if you made additional
qualifying payments during the new certified employment period. We recommend that you submit a Public Service Loan
Forgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF) Certification & Application (PSLF Form) annually. When it is
time to certify your employment, you can log in to StudentAid.gov/PSLF to get started.

Although we will maintain copies of any documents that we receive, we recommend that you keep copies of all forms that
you submit and any supporting documentation regarding your employment and the PSLF Program.

What is a qualifying payment? A qualifying payment for PSLF or TEPSLF is a payment that is made:

    ●   After October 1, 2007
    ●   Each month
    ●   For the "total due" or the "installment amount" shown on your bill, unless your amount due is $0, in which case you
        must pay the "installment amount"
    ●   On-time (received within 15 days of the payment due date)
    ●   Under one of the eligible repayment plans for PSLF or TEPSLF, as appropriate
    ●   While you are employed full-time at a qualifying employer (or serving in a full-time AmeriCorps or Peace Corps
        position)

For more information about specific details on TEPSLF please visit StudentAid.gov/TEPSLF.

Prepayments: You may prepay your loans (make lump sum payments) and have those payments count towards
forgiveness. Each prepayment will only count for up to 12 qualifying payments. In order for the prepayment to qualify for
subsequent months you must:

    ●   Have paid an amount to fully satisfy future billed amounts for each month you wish to prepay
    ●   Have qualifying employment that covers the due date for each month you prepay
    ●   Multiple prepayments made within the same year will not afford you more than 12 months of qualifying payments

        Note: If on an Income-Driven Repayment (IDR) plan, you may not prepay past your next annual recertification date.
        Your annual recertification period is the 12 month time period when your payments are based on your income.

How are eligible and qualifying payments different? A payment period is tracked as eligible when your payment meets
all of the following payment eligibility requirements:

    ●   Your payment is made under a qualifying repayment plan
    ●   For the full amount due as shown on your bill
    ●   Received no later than 15 days after your due date

An eligible payment becomes a qualifying payment when you certify your employment and all or part of your employment
period is approved. Eligible payment periods that correspond to approved employment periods are also tracked as
qualifying. These payments count toward the 120 required for loan forgiveness.

What is a qualifying repayment plan? In order to receive forgiveness under the PSLF Program, you must make most of
your payments under one of the following plans:

    ●   Pay As You Earn (PAYE)
    ●   Revised Pay As You Earn (REPAYE)
    ●   Income-Based Repayment (IBR)
    ●   Income-Contingent Repayment (ICR)
Visit MyFedLoan.org/PSLF for the Public Service Loan Forgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF)
Certification & Application (PSLF Form) and more information on the program. You can also contact our PSLF loan
counselors at the number provided.
If you have additional information for consideration or disagree with this information, you may contact FedLoan Servicing
at 1-855-265-4038 from 8 AM - 9 PM Eastern time, Monday through Friday. Additionally, if you disagree with the
results, or wish to file a complaint, submit a request to the U.S. Department of Education through the Feedback Center
                   Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 84 of 123
                                            EXHIBIT O-1
at Studentaid.gov/feedback-center/ or 1-844-651-0077 or contact the Federal Student Aid Ombudsman Group at
Studentaid.gov/feedback-ombudsman/disputes/prepare or at 1-877-557-2575.

Eligibility Criteria for Participation in the Public Service Loan Forgiveness Program

Participant Eligibility
You must have made 120 qualifying payments for PSLF. A qualifying payment for PSLF or TEPSLF is a payment that is
made:

         ● After October 1, 2007
         ● Each month
         ● For the "total due" or the "installment amount" shown on your bill, unless your amount due is $0, in which case
           you must pay the "installment amount"
         ● On-time (received within 15 days of the payment due date)
         ● Under one of the eligible repayment plans for PSLF or TEPSLF, as appropriate
         ● While you are employed full-time at a qualifying employer (or serving in a full-time AmeriCorps or Peace Corps
           position)

For PSLF, the 120 required payments must be made under one or more of the following Direct Loan Program repayment
plans:
    ● Pay As You Earn (PAYE) plan (not available for parent Direct PLUS Loans or Direct Consolidation Loans that
       repaid a parent PLUS Loan)
   ●   Revised Pay As You Earn (REPAYE) plan (not available for parent Direct PLUS Loans or Direct Consolidation
       Loans that repaid a parent PLUS Loan) NOTE: If you do not recertify on time annually you will be placed on an
       alternative repayment plan. The payments made while on the alternative repayment plan are not eligible for PSLF
       or TEPSLF.
   ●   Income-Based Repayment (IBR) plan (not available for parent Direct PLUS Loans or Direct Consolidation Loans
       that repaid a parent PLUS Loan)
   ●   Income-Contingent Repayment (ICR) plan (not available for parent Direct PLUS Loans or Direct PLUS
       Consolidation Loans)
   ●   Standard Repayment plan with a 10-year repayment period
   ●   Any other Direct Loan Program repayment plan; but only payments that are at least equal to the monthly payment
       amount that would have been required under the Standard Repayment plan with a 10-year repayment period may
       be counted toward the required 120 payments.
For TEPSLF, if your PSLF Form was denied because some or all of your payments were not made on a qualifying
repayment plan for PSLF, you may be able to receive loan forgiveness under TEPSLF.
To qualify for loan forgiveness under the TEPSLF opportunity, you must have
    ● Met the TEPSLF requirement for the amount you paid 12 months prior to applying for TEPSLF and the last payment
        you made before applying for TEPSLF to be at least as much as you would have paid under an income-driven
        repayment plan;
    ● Had at least 10 years of approved, full-time employment certified by a qualifying employer
    ● Made 120 qualifying payments under the new requirements for TEPSLF while working full-time for your qualifying
        employer or employers
Please be aware that the TEPSLF opportunity is temporary, has limited funding, and must be evaluated on a first
come, first served basis.
Employment Eligibility
You must be employed full-time (in any position) by a public service organization, or must be serving in a full-time
AmeriCorps or Peace Corps position at the time you make each qualifying payment. Organizations that meet the definition
of "public service organization" for purposes of the PSLF Program are listed below.
   ●   A government organization (including a federal, state, local or tribal organization, agency, or entity; a public child or
       family service agency; or a Tribal college or university);
   ●   A not-for-profit, tax-exempt organization* under Section 501(c)(3) of the Internal Revenue Code (includes most not-
       for-profit private schools, colleges, and universities);
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                                         EXHIBIT O-1
●   A private, not-for-profit organization* (that is not a labor union or a partisan political organization) that provides one
    or more of the following public services:
          ○ Emergency management
          ○ Military service
          ○ Public safety
          ○ Law enforcement
          ○ Public interest legal services
          ○ Early childhood education (including licensed or regulated child care, Head Start, and State-funded pre-
             kindergarten)
          ○ Public service for individuals with disabilities and the elderly
          ○ Public health (including nurses, nurse practitioners, nurses in a clinical setting, and full-time professionals
             engaged in health care practitioner occupations and health support occupations)
          ○ Public education
          ○ Public library services
          ○ School library services, or other school-based services
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                                                                                                                                                     WE HAVE REVIEWED YOUR
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                                                                                                                                                     LOAN FORGIVENESS (PSLF)
    January     6,    2022




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IMPORTANT UPDATE: On          October 6, 2021 the Department of Education announced a change to the Public Service Loan
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Forgiveness (PSLF) program rules that, for a limited time, may allow you to get credit for payments you've made on loans
that wouldn't normally qualify for PSLF. This waiver period is temporary and will end on October 31, 2022. To gain more
information on this limited waiver period, including any actions you may need to take to gain access to these beneﬁts, visit
StudentAid.gov/ps|fwaiver.

We reviewed your Public Service Loan                           Forgiveness (PSLF)                      & Temporary Expanded PSLF (TEPSLF)                                         Certiﬁcation       &
Application     (PSLF Form) you submitted and determined                                            that   you do not      qualify for forgiveness at this time,                       as explained
below.

NOT ELIGIBLE     YET: You have not yet made the required 120 qualifying payments necessary to be eligible for PSLF. To
qualify forPSLF, you must make 120 qualifying payments. In addition to making 120 qualifying payments, you must also be
working fuII-time for a qualifying employer at the time you apply for and receive forgiveness under PSLF.

We have updated your account with the conﬁrmed qualifying employment periods based on the employment information
provided and        will   continue to track your                 eligibility for        PSLF and TEPSLF. The following                            chart details your progression toward
PSLF so far.

PSLF     Qualifying        Payment        Details
                                                                                                                                           .   .               PSLF                              .
                              .                                                                              .    .        PSLF Qualifying                            .       .           Estimated
              D'Sbursement                                                                  PSLF           Ellg'b'e                                     Guallfymg
Loan Sequence                                        Loan Program                                                              Payments                                                    Eligibility
                  Date                                                                              Payments                                            Payments
                                                                                                                                 (Total)                                  .   .         Date for PSLF
                                                                                                                                                       (Remaining)
         0001                 08/ 1 8/201 0                   DLSTFD                                   102                          98                            22                       03/2024
         0002                 08/1 8/201 0                    DLUNST                                   102                          98                            22                       03/2024
         0003                 02/1 3/201 2                    DLSTFD                                   102                          98                            22                       03/2024
         0004                 06/27/2012                      DLSCST                                   102                          98                            22                       03/2024
         0005                 06/27/2012                      DLSCSC                                   103                          99                            21                       01/2024
         0006                 06/27/2012                      DLSCST                                   103                          99                            21                       01/2024
         0007                 06l27/2012                      DLSCUN                                   103                          99                            21                       01/2024




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                                              EXHIBIT O-2
                                                                                                    PSLF
                                                                           PSLF Qualifying                         Estimated
              Disbursement                               PSLF Eligible                            Qualifying
Loan Sequence              Loan Program                                      Payments                               Eligibility
                  Date                                    Payments                                Payments
                                                                               (Total)                            Date for PSLF
                                                                                                 (Remaining)
        0008          06/27/2012         DLSCST                103                 99                21               01/2024
        0009          06/27/2012         DLSCUN                102                 98                22               03/2024
        0010          07/27/2012         DLSCPG                103                 99                21               01/2024
        0011          09/14/2012         DLSCUC                103                 99                21               01/2024

TEPSLF Candidates: We will send you separate correspondence with additional details, if you are eligible for
reconsideration under TEPSLF.

Good to Know! The charts above display the total number of eligible and qualifying payments you have made (out of the
required 120) on your eligible loans for PSLF and TEPSLF, including any periods we have assessed as eligible or
qualifying under the Limited PSLF Waiver. Please ensure that you have certified all periods of eligible employment.
If you believe you may have additional eligible employment, please submit a PSLF Form for the appropriate
period. For more details regarding your payments made towards both PSLF and TEPSLF, please visit us on the web at
MyFedLoan.org/PSLF.


Employment Information
               Employer Name                  Approved Employment Begin Date               Approved Employment End Date
        CALIFORNIA ARMY
                                                            06/16/2013                                  10/03/2013
        NATIONAL GUARD
            US ARMY                                         06/16/2013                                  10/05/2013
            US ARMY                                         06/16/2013                                  10/05/2013
            US ARMY                                         03/06/2014                                  12/31/2014
            US ARMY                                         02/05/2015                                  09/30/2015
            US ARMY                                         05/02/2016                                  10/23/2016
        CALIFORNIA ARMY
                                                            02/04/2016                                  10/26/2016
        NATIONAL GUARD
 STATE OF LEGISLATURE OF HAWAII                             01/03/2017                                  03/31/2017
      SECRETARY OF STATE                                    02/01/2007                                  05/24/2017
            US ARMY                                         08/01/2017                                  09/09/2020
            US ARMY                                         09/10/2020                                  11/15/2021

Note: This chart displays the periods of eligible employment approved to date. If the dates of employment that you
submitted on the form differ from those listed above, it may be due to overlapping employment periods, dates certified into
the future, or periods of employment on or before October 1, 2007 (which do not qualify for PSLF or TEPSLF). You may
access your online account at MyFedLoan.org for specific details regarding your loans and payments.

If you have any U.S. Department of Education owned student loans that are not already serviced by FedLoan Servicing, we
will contact your current servicers to request a transfer of all of your loans to us. This transfer will allow you to manage all of
your loans in one location and closely track your progression toward PSLF and TEPSLF. Please allow a few weeks for the
entire transfer process to be completed.

Qualifying Payment Tracking for Public Service Loan Forgiveness

Keeping track of your progression toward PSLF or TEPSLF is easy.

    ●    Log in to Account Access at MyFedLoan.org
    ●    Check your monthly bill
    ●    Review the communication that we send you each time you submit a new PSLF Form
                     Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 88 of 123
                                              EXHIBIT O-2
We will update your qualifying payment count each time you submit new certified employment if you made additional
qualifying payments during the new certified employment period. We recommend that you submit a Public Service Loan
Forgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF) Certification & Application (PSLF Form) annually. When it is
time to certify your employment, you can log in to StudentAid.gov/PSLF to get started.

Although we will maintain copies of any documents that we receive, we recommend that you keep copies of all forms that
you submit and any supporting documentation regarding your employment and the PSLF Program.

What is a qualifying payment? A qualifying payment for PSLF or TEPSLF is a payment that is made:

    ●   After October 1, 2007
    ●   Each month
    ●   For the "total due" or the "installment amount" shown on your bill, unless your amount due is $0, in which case you
        must pay the "installment amount"
    ●   On-time (received within 15 days of the payment due date)
    ●   Under one of the eligible repayment plans for PSLF or TEPSLF, as appropriate
    ●   While you are employed full-time at a qualifying employer (or serving in a full-time AmeriCorps or Peace Corps
        position)

For more information about specific details on TEPSLF please visit StudentAid.gov/TEPSLF.

Prepayments: You may prepay your loans (make lump sum payments) and have those payments count towards
forgiveness. Each prepayment will only count for up to 12 qualifying payments. In order for the prepayment to qualify for
subsequent months you must:

    ●   Have paid an amount to fully satisfy future billed amounts for each month you wish to prepay
    ●   Have qualifying employment that covers the due date for each month you prepay
    ●   Multiple prepayments made within the same year will not afford you more than 12 months of qualifying payments

        Note: If on an Income-Driven Repayment (IDR) plan, you may not prepay past your next annual recertification date.
        Your annual recertification period is the 12 month time period when your payments are based on your income.

How are eligible and qualifying payments different? A payment period is tracked as eligible when your payment meets
all of the following payment eligibility requirements:

    ●   Your payment is made under a qualifying repayment plan
    ●   For the full amount due as shown on your bill
    ●   Received no later than 15 days after your due date

An eligible payment becomes a qualifying payment when you certify your employment and all or part of your employment
period is approved. Eligible payment periods that correspond to approved employment periods are also tracked as
qualifying. These payments count toward the 120 required for loan forgiveness.

What is a qualifying repayment plan? In order to receive forgiveness under the PSLF Program, you must make most of
your payments under one of the following plans:

    ●   Pay As You Earn (PAYE)
    ●   Revised Pay As You Earn (REPAYE)
    ●   Income-Based Repayment (IBR)
    ●   Income-Contingent Repayment (ICR)
Visit MyFedLoan.org/PSLF for the Public Service Loan Forgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF)
Certification & Application (PSLF Form) and more information on the program. You can also contact our PSLF loan
counselors at the number provided.
If you have additional information for consideration or disagree with this information, you may contact FedLoan Servicing
at 1-855-265-4038 from 8 AM - 9 PM Eastern time, Monday through Friday. Additionally, if you disagree with the
results, or wish to file a complaint, submit a request to the U.S. Department of Education through the Feedback Center
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                                            EXHIBIT O-2
at Studentaid.gov/feedback-center/ or 1-844-651-0077 or contact the Federal Student Aid Ombudsman Group at
Studentaid.gov/feedback-ombudsman/disputes/prepare or at 1-877-557-2575.

Eligibility Criteria for Participation in the Public Service Loan Forgiveness Program

Participant Eligibility
You must have made 120 qualifying payments for PSLF. A qualifying payment for PSLF or TEPSLF is a payment that is
made:

         ● After October 1, 2007
         ● Each month
         ● For the "total due" or the "installment amount" shown on your bill, unless your amount due is $0, in which case
           you must pay the "installment amount"
         ● On-time (received within 15 days of the payment due date)
         ● Under one of the eligible repayment plans for PSLF or TEPSLF, as appropriate
         ● While you are employed full-time at a qualifying employer (or serving in a full-time AmeriCorps or Peace Corps
           position)

For PSLF, the 120 required payments must be made under one or more of the following Direct Loan Program repayment
plans:
    ● Pay As You Earn (PAYE) plan (not available for parent Direct PLUS Loans or Direct Consolidation Loans that
       repaid a parent PLUS Loan)
   ●   Revised Pay As You Earn (REPAYE) plan (not available for parent Direct PLUS Loans or Direct Consolidation
       Loans that repaid a parent PLUS Loan) NOTE: If you do not recertify on time annually you will be placed on an
       alternative repayment plan. The payments made while on the alternative repayment plan are not eligible for PSLF
       or TEPSLF.
   ●   Income-Based Repayment (IBR) plan (not available for parent Direct PLUS Loans or Direct Consolidation Loans
       that repaid a parent PLUS Loan)
   ●   Income-Contingent Repayment (ICR) plan (not available for parent Direct PLUS Loans or Direct PLUS
       Consolidation Loans)
   ●   Standard Repayment plan with a 10-year repayment period
   ●   Any other Direct Loan Program repayment plan; but only payments that are at least equal to the monthly payment
       amount that would have been required under the Standard Repayment plan with a 10-year repayment period may
       be counted toward the required 120 payments.
For TEPSLF, if your PSLF Form was denied because some or all of your payments were not made on a qualifying
repayment plan for PSLF, you may be able to receive loan forgiveness under TEPSLF.
To qualify for loan forgiveness under the TEPSLF opportunity, you must have
    ● Met the TEPSLF requirement for the amount you paid 12 months prior to applying for TEPSLF and the last payment
        you made before applying for TEPSLF to be at least as much as you would have paid under an income-driven
        repayment plan;
    ● Had at least 10 years of approved, full-time employment certified by a qualifying employer
    ● Made 120 qualifying payments under the new requirements for TEPSLF while working full-time for your qualifying
        employer or employers
Please be aware that the TEPSLF opportunity is temporary, has limited funding, and must be evaluated on a first
come, first served basis.
Employment Eligibility
You must be employed full-time (in any position) by a public service organization, or must be serving in a full-time
AmeriCorps or Peace Corps position at the time you make each qualifying payment. Organizations that meet the definition
of "public service organization" for purposes of the PSLF Program are listed below.
   ●   A government organization (including a federal, state, local or tribal organization, agency, or entity; a public child or
       family service agency; or a Tribal college or university);
   ●   A not-for-profit, tax-exempt organization* under Section 501(c)(3) of the Internal Revenue Code (includes most not-
       for-profit private schools, colleges, and universities);
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                                         EXHIBIT O-2
●   A private, not-for-profit organization* (that is not a labor union or a partisan political organization) that provides one
    or more of the following public services:
          ○ Emergency management
          ○ Military service
          ○ Public safety
          ○ Law enforcement
          ○ Public interest legal services
          ○ Early childhood education (including licensed or regulated child care, Head Start, and State-funded pre-
             kindergarten)
          ○ Public service for individuals with disabilities and the elderly
          ○ Public health (including nurses, nurse practitioners, nurses in a clinical setting, and full-time professionals
             engaged in health care practitioner occupations and health support occupations)
          ○ Public education
          ○ Public library services
          ○ School library services, or other school-based services
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                       EXHIBIT P
2nd Set of Letters Showing PSFL-Qualifying Payments,
                 dtd. January 7, 2022
                                Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 92 of 123
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IMPORTANT UPDATE: On          October 6, 2021 the Department of Education announced a change to the Public Service Loan
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Forgiveness (PSLF) program rules that, for a limited time, may allow you to get credit for payments you've made on loans
that wouldn't normally qualify for PSLF. This waiver period is temporary and will end on October 31, 2022. To gain more
information on this limited waiver period, including any actions you may need to take to gain access to these beneﬁts, visit
StudentAid.gov/ps|fwaiver.

We have reviewed your Public Service LoanForgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF) Certiﬁcation &
          (PSLF Form) and have counted the number of qualifying payments you made during each period of qualifying
Application
employment. Note: Only payments made after October 1, 2007 qualify for PSLF.

Please review the enclosed information for details regarding the most recent PSLF Form you submitted and the
corresponding qualifying payment information for each period of certiﬁed employment. The following informaﬁon                                                                                is    provided
for   each   loan.

      0      The number          of eligible    payments you made toward your loans                                               that are eligible for     PSLF and TEPSLF
      0      The total number of qualifying payments                                          for   PSLF and TEPSLF that you made                       during       all     periods of eligible
             employment approved to date
      0      The estimated number                   of   payments               that are            still     required for   PSLF and TEPSLF
      0      The date you are           or   were expected                      to       be   eligible to        apply for forgiveness under            PSLF and TEPSLF
             0 Note:      If   the total   number             of qualifying                   payments you have made for PSLF                        is identical       to the      number you have
               made for TEPSLF,                only those periods for                               PSLF        are   shown

Good to Know: Keeping                   track of your progression toward                                        PSLF and TEPSLF            is   easy.

      0      Sign   in   to   Account Access at MyFedLoan.org
      0      Check your monthly              bill

      0      Review the communication                     that              we send you each time you                        submit    new PSLF Form
Use the      following resources for additional information about                                                PSLF and TEPSLF,               including   program requirements, help with
the   PSLF form, FAQs, and more!



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                      Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 93 of 123
                                                EXHIBIT P-1
    ●    StudentAid.gov/PSLF - Complete the PSLF Form electronically
    ●    StudentAid.gov/publicservice - Information on PSLF and TEPSLF
    ●    MyFedLoan.org/PSLF - Upload your completed document after your employer certifies your employment.
PSLF Qualifying Payment Details
                                                                                               PSLF
                                                                        PSLF Qualifying                       Estimated
              Disbursement                             PSLF Eligible                         Qualifying
Loan Sequence              Loan Program                                   Payments                             Eligibility
                  Date                                  Payments                             Payments
                                                                            (Total)                          Date for PSLF
                                                                                            (Remaining)
        0001          08/18/2010        DLSTFD              102                98               22               03/2024
        0002          08/18/2010        DLUNST              102                98               22               03/2024
        0003          02/13/2012        DLSTFD              102                98               22               03/2024
        0004          06/27/2012        DLSCST              102                98               22               03/2024

Good to Know! The charts above display the total number of eligible and qualifying payments you have made (out of the
required 120) on your eligible loans for PSLF and TEPSLF, including any periods we have assessed as eligible or
qualifying under the Limited PSLF Waiver. Please ensure that you have certified all periods of eligible employment.
If you believe you may have additional eligible employment, please submit a PSLF Form for the appropriate
period. For more details regarding your payments made towards both PSLF and TEPSLF, please visit us on the web at
MyFedLoan.org/PSLF.

We will update your qualifying payment count each time you submit new certified employment if you made additional
qualifying payments during the new certified employment period. Although we will maintain copies of any documents that
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When am I eligible for forgiveness? You may be eligible for loan forgiveness after you have made 120 qualifying
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    ●    Revised Pay As You Earn (REPAYE)
    ●    Pay As You Earn (PAYE)
    ●    Income-Based Repayment (IBR)
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These plans may also provide you with a lower payment amount. However, you will pay more interest over time under these
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         position)

For more information about specific details on TEPSLF please visit StudentAid.gov/TEPSLF.
                     Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 94 of 123
                                               EXHIBIT P-1
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period is approved. Eligible payment periods that correspond to approved employment periods are also tracked as
qualifying. These payments count toward the 120 required for loan forgiveness.

For more details regarding eligible and qualifying payments you have made towards both PSLF and TEPSLF, please visit
us on the web at MyFedLoan.org/PSLF.

Public Service Loan Forgiveness (PSLF) Qualifying Payments - To Be Continued
You still have details to review! We weren't able to fit your PSLF qualifying payment details for all of your loans on one letter.
Don't worry! You should see another letter from us that includes information for your other loans.
                                Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 95 of 123
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IMPORTANT UPDATE: On          October 6, 2021 the Department of Education announced a change to the Public Service Loan
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Forgiveness (PSLF) program rules that, for a limited time, may allow you to get credit for payments you've made on loans
that wouldn't normally qualify for PSLF. This waiver period is temporary and will end on October 31, 2022. To gain more
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                                                EXHIBIT P-2
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              Disbursement                             PSLF Eligible                         Qualifying
Loan Sequence              Loan Program                                   Payments                             Eligibility
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                                                                            (Total)                          Date for PSLF
                                                                                            (Remaining)
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        0007          06/27/2012        DLSCUN              103                99               21               01/2024
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                     Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 97 of 123
                                               EXHIBIT P-2
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      0      The total number of qualifying payments                                          for   PSLF and TEPSLF that you made                       during       all     periods of eligible
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      0      The date you are           or   were expected                      to       be   eligible to        apply for forgiveness under            PSLF and TEPSLF
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               made for TEPSLF,                only those periods for                               PSLF        are   shown

Good to Know: Keeping                   track of your progression toward                                        PSLF and TEPSLF            is   easy.

      0      Sign   in   to   Account Access at MyFedLoanorg
      0      Check your monthly              bill




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Po. Box 69184,       Harrisburg,   PA   17106—9134            |
                                                                          M-F 3AM       to   9PM   (ET)   |
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MyFedLoan.org
                      Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 99 of 123
                                                EXHIBIT P-3
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Use the following resources for additional information about PSLF and TEPSLF, including program requirements, help with
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PSLF Qualifying Payment Details
                                                                                               PSLF
                                                                        PSLF Qualifying                       Estimated
              Disbursement                             PSLF Eligible                         Qualifying
Loan Sequence              Loan Program                                   Payments                             Eligibility
                  Date                                  Payments                             Payments
                                                                            (Total)                          Date for PSLF
                                                                                            (Remaining)
        0009          06/27/2012        DLSCUN              102                98               22               03/2024
        0010          07/27/2012        DLSCPG              103                99               21               01/2024
        0011          09/14/2012        DLSCUC              103                99               21               01/2024

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required 120) on your eligible loans for PSLF and TEPSLF, including any periods we have assessed as eligible or
qualifying under the Limited PSLF Waiver. Please ensure that you have certified all periods of eligible employment.
If you believe you may have additional eligible employment, please submit a PSLF Form for the appropriate
period. For more details regarding your payments made towards both PSLF and TEPSLF, please visit us on the web at
MyFedLoan.org/PSLF.

We will update your qualifying payment count each time you submit new certified employment if you made additional
qualifying payments during the new certified employment period. Although we will maintain copies of any documents that
we receive, we recommend that you keep copies of all forms you submit and any supporting documentation regarding your
employment and the PSLF Program.

We recommend that you submit a PSLF Form annually. When it is time to certify your employment, you can log in to
MyFedLoan.org to get started.

When am I eligible for forgiveness? You may be eligible for loan forgiveness after you have made 120 qualifying
payments. You must be working full-time for a qualifying employer at the time you apply for and receive forgiveness. We will
provide you with a final determination of your eligibility for forgiveness after we receive your form.

What is a qualifying repayment plan for PSLF? In order to receive forgiveness under the PSLF Program, you must make
most of your payments under one of the following plans:

    ●    Revised Pay As You Earn (REPAYE)
    ●    Pay As You Earn (PAYE)
    ●    Income-Based Repayment (IBR)
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These plans may also provide you with a lower payment amount. However, you will pay more interest over time under these
repayment plans if you are not ultimately eligible for PSLF. You can review all eligible repayment plans and other eligibility
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What is a qualifying payment? A qualifying payment for PSLF or TEPSLF is a payment that is made:

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         must pay the "installment amount"
    ●    On-time (received within 15 days of the payment due date)
    ●    Under one of the eligible repayment plans for PSLF or TEPSLF, as appropriate
                   Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 100 of 123
                                             EXHIBIT P-3
    ●   While you are employed full-time at a qualifying employer (or serving in a full-time AmeriCorps or Peace Corps
        position)

For more information about specific details on TEPSLF please visit StudentAid.gov/TEPSLF.

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    ●   Multiple prepayments made within the same year will not afford you more than 12 months of qualifying payments

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all of the following payment eligibility requirements:

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    ●   For the full amount due as shown on your bill
    ●   Received no later than 15 days after your due date

An eligible payment becomes a qualifying payment when you certify your employment and all or part of your employment
period is approved. Eligible payment periods that correspond to approved employment periods are also tracked as
qualifying. These payments count toward the 120 required for loan forgiveness.

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Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 101 of 123




                      EXHIBIT Q
    Letter Showing 84-85 PSLF-Qualifying Payments
                dtd. January 15, 2022
                               Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 102 of 123
                                                                                                              EXHIBIT Q-1


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                                                                                                                                                          FOR PUBLIC SERVICE
      January 14, 2022
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                                                                                                                                                        Account Number: 48 0356 7678
                     #BWBBCFT
                     #B301 7684 0001 14L7#
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IMPORTANT UPDATE: On          October 6, 2021 the Department of Education announced a change to the Public Service Loan
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Forgiveness (PSLF) program rules that, for a limited time, may allow you to get credit for payments you've made on loans
that wouldn't normally qualify for PSLF. This waiver period is temporary and will end on October 31, 2022. To gain more
information on this limited waiver period, including any actions you may need to take to gain access to these beneﬁts, visit
StudentAid.gov/ps|fwaiver.

We have reviewed your Public Service LoanForgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF) Certiﬁcation &
          (PSLF Form) and have counted the number of qualifying payments you made during each period of qualifying
Application
employment. Note: Only payments made after October 1, 2007 qualify for PSLF.

Please review the enclosed information for details regarding the most recent PSLF Form you submitted and the
corresponding qualifying payment information for each period of certiﬁed employment. The following informaﬁon                                                                                is    provided
for   each   loan.

      0      The number          of eligible    payments you made toward your loans                                               that are eligible for     PSLF and TEPSLF
      0      The total number of qualifying payments                                          for   PSLF and TEPSLF that you made                       during       all     periods of eligible
             employment approved to date
      0      The estimated number                   of   payments               that are            still     required for   PSLF and TEPSLF
      0      The date you are           or   were expected                      to       be   eligible to        apply for forgiveness under            PSLF and TEPSLF
             0 Note:      If   the total   number             of qualifying                   payments you have made for PSLF                        is identical       to the      number you have
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Use the      following resources for additional information about                                                PSLF and TEPSLF,               including   program requirements, help with
the   PSLF form, FAQs, and more!



TLXHTI'H FSOSBPSTKF                 4803567678                             ENOTIFY                                    83000000649261853                               202201 14103830 202201 141 04844


Po. Box 69184,       Harrisburg,   PA   17106—9134            |
                                                                          M-F 3AM       to   9PM   (ET)   |
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MyFedLoan.org
                    Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 103 of 123
                                              EXHIBIT Q-1
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PSLF Qualifying Payment Details
                                                                                               PSLF
                                                                        PSLF Qualifying                       Estimated
              Disbursement                             PSLF Eligible                         Qualifying
Loan Sequence              Loan Program                                   Payments                             Eligibility
                  Date                                  Payments                             Payments
                                                                            (Total)                          Date for PSLF
                                                                                            (Remaining)
        0001          08/18/2010        DLSTFD              102                84               36               05/2025
        0002          08/18/2010        DLUNST              102                84               36               05/2025
        0003          02/13/2012        DLSTFD              102                84               36               05/2025
        0004          06/27/2012        DLSCST              102                84               36               05/2025

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required 120) on your eligible loans for PSLF and TEPSLF, including any periods we have assessed as eligible or
qualifying under the Limited PSLF Waiver. Please ensure that you have certified all periods of eligible employment.
If you believe you may have additional eligible employment, please submit a PSLF Form for the appropriate
period. For more details regarding your payments made towards both PSLF and TEPSLF, please visit us on the web at
MyFedLoan.org/PSLF.

We will update your qualifying payment count each time you submit new certified employment if you made additional
qualifying payments during the new certified employment period. Although we will maintain copies of any documents that
we receive, we recommend that you keep copies of all forms you submit and any supporting documentation regarding your
employment and the PSLF Program.

We recommend that you submit a PSLF Form annually. When it is time to certify your employment, you can log in to
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When am I eligible for forgiveness? You may be eligible for loan forgiveness after you have made 120 qualifying
payments. You must be working full-time for a qualifying employer at the time you apply for and receive forgiveness. We will
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    ●    Income-Based Repayment (IBR)
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    ●    On-time (received within 15 days of the payment due date)
    ●    Under one of the eligible repayment plans for PSLF or TEPSLF, as appropriate
    ●    While you are employed full-time at a qualifying employer (or serving in a full-time AmeriCorps or Peace Corps
         position)

For more information about specific details on TEPSLF please visit StudentAid.gov/TEPSLF.
                    Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 104 of 123
                                              EXHIBIT Q-1
Prepayments: You may prepay your loans (make lump sum payments) and have those payments count towards
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qualifying. These payments count toward the 120 required for loan forgiveness.

For more details regarding eligible and qualifying payments you have made towards both PSLF and TEPSLF, please visit
us on the web at MyFedLoan.org/PSLF.

Public Service Loan Forgiveness (PSLF) Qualifying Payments - To Be Continued
You still have details to review! We weren't able to fit your PSLF qualifying payment details for all of your loans on one letter.
Don't worry! You should see another letter from us that includes information for your other loans.
                               Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 105 of 123
                                                                                                              EXHIBIT Q-2


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      January 14, 2022
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                                                                                                                                                        Account Number: 48 0356 7678
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IMPORTANT UPDATE: On          October 6, 2021 the Department of Education announced a change to the Public Service Loan
                                                                                    ,


Forgiveness (PSLF) program rules that, for a limited time, may allow you to get credit for payments you've made on loans
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We weren't able to ﬁt your PSLF qualifyingpayment details for all of your loans on one letter so we are sending this letter to
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We have reviewed your Public Service LoanForgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF) Certiﬁcation &
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Application
employment. Note: Only payments made after October 1, 2007 qualify for PSLF.

Please review the enclosed information for details regarding the most recent PSLF Form you submitted and the
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for   each   loan.

      0      The number          of eligible    payments you made toward your loans                                               that are eligible for   PSLF and TEPSLF
      0      The total number of qualifying payments                                          for   PSLF and TEPSLF that you made                       during       all     periods of eligible
             employment approved to date
      0      The estimated number                   of   payments               that are            still     required for   PSLF and TEPSLF
      0      The date you are           or   were expected                      to       be   eligible to        apply for forgiveness under            PSLF and TEPSLF
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Po. Box 69184,       Harrisburg,   PA   17106—9134            |
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MyFedLoan.org
                    Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 106 of 123
                                              EXHIBIT Q-2
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PSLF Qualifying Payment Details
                                                                                               PSLF
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              Disbursement                             PSLF Eligible                         Qualifying
Loan Sequence              Loan Program                                   Payments                             Eligibility
                  Date                                  Payments                             Payments
                                                                            (Total)                          Date for PSLF
                                                                                            (Remaining)
        0005          06/27/2012        DLSCSC              103                85               35               03/2025
        0006          06/27/2012        DLSCST              103                85               35               03/2025
        0007          06/27/2012        DLSCUN              103                85               35               03/2025
        0008          06/27/2012        DLSCST              103                85               35               03/2025

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                    Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 107 of 123
                                              EXHIBIT Q-2
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                               Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 108 of 123
                                                                                                              EXHIBIT Q-3


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                                                                                                                                                            YOUR                   ELIGIBILITY
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TLXHTI’H FSO6BPSTKF                 4803567678                             ENOTIFY                                    83000000649261855                               202201 14103830 202201 141 04844


Po. Box 69184,       Harrisburg,   PA   17106—9134            |
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MyFedLoan.org
                    Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 109 of 123
                                              EXHIBIT Q-3
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PSLF Qualifying Payment Details
                                                                                               PSLF
                                                                        PSLF Qualifying                       Estimated
              Disbursement                             PSLF Eligible                         Qualifying
Loan Sequence              Loan Program                                   Payments                             Eligibility
                  Date                                  Payments                             Payments
                                                                            (Total)                          Date for PSLF
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        0009          06/27/2012        DLSCUN              102                84               36               05/2025
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If you believe you may have additional eligible employment, please submit a PSLF Form for the appropriate
period. For more details regarding your payments made towards both PSLF and TEPSLF, please visit us on the web at
MyFedLoan.org/PSLF.

We will update your qualifying payment count each time you submit new certified employment if you made additional
qualifying payments during the new certified employment period. Although we will maintain copies of any documents that
we receive, we recommend that you keep copies of all forms you submit and any supporting documentation regarding your
employment and the PSLF Program.

We recommend that you submit a PSLF Form annually. When it is time to certify your employment, you can log in to
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When am I eligible for forgiveness? You may be eligible for loan forgiveness after you have made 120 qualifying
payments. You must be working full-time for a qualifying employer at the time you apply for and receive forgiveness. We will
provide you with a final determination of your eligibility for forgiveness after we receive your form.

What is a qualifying repayment plan for PSLF? In order to receive forgiveness under the PSLF Program, you must make
most of your payments under one of the following plans:

    ●    Revised Pay As You Earn (REPAYE)
    ●    Pay As You Earn (PAYE)
    ●    Income-Based Repayment (IBR)
    ●    Income-Contingent Repayment (ICR)

These plans may also provide you with a lower payment amount. However, you will pay more interest over time under these
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    ●    After October 1, 2007
    ●    Each month
    ●    For the "total due" or the "installment amount" shown on your bill, unless your amount due is $0, in which case you
         must pay the "installment amount"
    ●    On-time (received within 15 days of the payment due date)
    ●    Under one of the eligible repayment plans for PSLF or TEPSLF, as appropriate
                   Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 110 of 123
                                             EXHIBIT Q-3
    ●   While you are employed full-time at a qualifying employer (or serving in a full-time AmeriCorps or Peace Corps
        position)

For more information about specific details on TEPSLF please visit StudentAid.gov/TEPSLF.

Prepayments: You may prepay your loans (make lump sum payments) and have those payments count towards
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    ●   Have paid an amount to fully satisfy future billed amounts for each month you wish to prepay
    ●   Have qualifying employment that covers the due date for each month you prepay
    ●   Multiple prepayments made within the same year will not afford you more than 12 months of qualifying payments

        Note: If on an Income-Driven Repayment (IDR) plan, you may not prepay past your next annual recertification date.
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qualifying. These payments count toward the 120 required for loan forgiveness.

For more details regarding eligible and qualifying payments you have made towards both PSLF and TEPSLF, please visit
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Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 111 of 123




                       EXHIBIT R
            Letter Showing 84 PSLF-Qualifying
              Payments dtd. March 16, 2022
                               Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 112 of 123
                                                                                                                  EXHIBIT R


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                                                                               US. Department                      of Education
                                                                               Inlormsﬂon Ibouc you- lodenl Mani loan                                  IN FORMATION                   REGARDING
                                                                                                                                                               YOUR              ELIGIBILITY
                                                                                                                                                            FOR PUBLIC SERVICE
        March   15,   2022
                                                                                                                                                            LOAN FORGIVENESS



                                                                                                                                                          Account Number: 48 0356 7678
                      #BWBBCFT
                      #B301 7684 0003 15L4#
                                       SCH




IMPORTANT UPDATE: On          October 6, 2021 the Department of Education announced a change to the Public Service Loan
                                                                                      ,


Forgiveness (PSLF) program rules that, for a limited time, may allow you to get credit for payments you've made on loans
that wouldn't normally qualify for PSLF. This waiver period is temporary and will end on October 31, 2022. To gain more
information on this limited waiver period, including any actions you may need to take to gain access to these beneﬁts, visit
StudentAid.gov/ps|fwaiver.

We have reviewed your Public Service LoanForgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF) Certiﬁcation &
          (PSLF Form) and have counted the number of qualifying payments you made during each period of qualifying
Application
employment. Note: Only payments made after October 1, 2007 qualify for PSLF.

Please review the enclosed information for details regarding the most recent PSLF Form you submitted and the
corresponding qualifying payment information for each period of certiﬁed employment. The following informaﬁon                                                                                is    provided
for   each   loan.

        0    The number          of eligible      payments you made toward your loans                                               that are eligible for     PSLF and TEPSLF
        0    The total number of qualifying payments                                            for   PSLF and TEPSLF that you made                       during       all   periods of eligible
             employment approved to date
        0    The estimated number                     of   payments               that are            still     required for   PSLF and TEPSLF
        0    The date you are             or   were expected                      to       be   eligible to        apply for forgiveness under            PSLF and TEPSLF
             0 Note:      If   the total   number               of qualifying                   payments you have made for PSLF                       is identical       to the   number you have
                made for TEPSLF,                 only those periods for                               PSLF        are   shown

Good to Know: Keeping                     track of your progression toward                                        PSLF and TEPSLF            is   easy.

        0    Sign   in   to   Account Access at MyFedLoan.org
        0    Check your monthly                bill

        0    Review the communication                       that              we send you each time you                        submit    new PSLF Form
Use the      following resources for additional information about                                                  PSLF and TEPSLF,               including   program requirements, help with
the     PSLF form, FAQs, and more!


TLXHTTH FSO6BPSTKF                   4803567678                              ENOTIFY                                    83000000659764061                               2022031 51 1 4008 202203151 14852


P.0. Box 69184, Harrisburg,          PA   17106—9184            |
                                                                            M-F 8AM       to   9PM   (ET)   |
                                                                                                                (855-265—4038   |
                                                                                                                                    Intemational 717-720-1985      |
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                                                                                                                                                                       -§: 711

MyFed Loan.org
Visit   gheaaorg/oca     for state   and federal consumer advocacy resources.
                    Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 113 of 123
                                               EXHIBIT R
    ●    StudentAid.gov/PSLF - Complete the PSLF Form electronically
    ●    StudentAid.gov/publicservice - Information on PSLF and TEPSLF
    ●    MyFedLoan.org/PSLF - Upload your completed document after your employer certifies your employment.
PSLF Qualifying Payment Details
                                                                                               PSLF
                                                                        PSLF Qualifying                       Estimated
              Disbursement                             PSLF Eligible                         Qualifying
Loan Sequence              Loan Program                                   Payments                             Eligibility
                  Date                                  Payments                             Payments
                                                                            (Total)                          Date for PSLF
                                                                                            (Remaining)
        0001          08/18/2010        DLSTFD              104                84               36               05/2025
        0002          08/18/2010        DLUNST              104                84               36               05/2025
        0003          02/13/2012        DLSTFD              104                84               36               05/2025

Good to Know! The charts above display the total number of eligible and qualifying payments you have made (out of the
required 120) on your eligible loans for PSLF and TEPSLF, including any periods we have assessed as eligible or
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For more information about specific details on TEPSLF please visit StudentAid.gov/TEPSLF.
                   Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 114 of 123
                                              EXHIBIT R
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Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 115 of 123




                       EXHIBIT S
          Letter Showing 89-91 PSLF-Qualifying
             Payments dtd. March 18, 2022
                               Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 116 of 123
                                                          EXHIBIT S


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                                                                               US. Department                      of Education
                                                                               Inlormsﬂon Ibouc you- lodenl Mani loan                                  IN FORMATION                   REGARDING
                                                                                                                                                               YOUR              ELIGIBILITY
                                                                                                                                                            FOR PUBLIC SERVICE
        March   17,   2022
                                                                                                                                                            LOAN FORGIVENESS



                                                                                                                                                          Account Number: 48 0356 7678
                      #BWBBCFT
                      #B301 7684 0003 17L2#
                                       SCH




IMPORTANT UPDATE: On          October 6, 2021 the Department of Education announced a change to the Public Service Loan
                                                                                      ,


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We have reviewed your Public Service LoanForgiveness (PSLF) & Temporary Expanded PSLF (TEPSLF) Certiﬁcation &
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Application
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TLXHTTH FSO6BPSTKF                   4803567678                              ENOTIFY                                    83000000660039485                               2022031 71 1 01 58 202203171 1 1 240


P.0. Box 69184, Harrisburg,          PA   17106—9184            |
                                                                            M-F 8AM       to   9PM   (ET)   |
                                                                                                                (855-265—4038   |
                                                                                                                                    Intemational 717-720-1985      |
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MyFed Loan.org
Visit   gheaaorg/oca     for state   and federal consumer advocacy resources.
                    Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 117 of 123
                                               EXHIBIT S
    ●    StudentAid.gov/PSLF - Complete the PSLF Form electronically
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PSLF Qualifying Payment Details
                                                                                               PSLF
                                                                        PSLF Qualifying                       Estimated
              Disbursement                             PSLF Eligible                         Qualifying
Loan Sequence              Loan Program                                   Payments                             Eligibility
                  Date                                  Payments                             Payments
                                                                            (Total)                          Date for PSLF
                                                                                            (Remaining)
        0001          08/18/2010        DLSTFD              111                91               29               10/2024
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For more information about specific details on TEPSLF please visit StudentAid.gov/TEPSLF.
                   Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 118 of 123
                                              EXHIBIT S
Prepayments: You may prepay your loans (make lump sum payments) and have those payments count towards
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Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 119 of 123




                        EXHIBIT T
               Letter dtd. February 7, 2022
         "Both Federal Student Aid and your PSLF
        servicer are working hard to monitor your
        accounts and make sure you get credit for
                      your progress."
      Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 120 of 123
                                 EXHIBIT T




February 7, 2022

Dear Fellow Public Service Worker,

In November, I emailed to tell you about big changes to the Public Service Loan Forgiveness
(PSLF) Program. We’re grateful for your public service. Our changes will help you get the credit
you deserve in return.

I am reaching out now to update you on our progress.

More than a million student loan borrowers could benefit from recent changes to the PSLF
program. You’re one of them. At this time a year ago, PSLF had helped forgive some or all loans
for fewer than 7,000 people. That number is now close to 70,000. We have heard from these
people and see how our loan relief is transforming their lives.

Starting this month, many borrowers will begin to see updated payment counts. Both Federal
Student Aid and your PSLF servicer are working hard to monitor your accounts and make sure
you get credit for your progress. The work is massive. We must do it in phases. To make all the
adjustments may take a few months. Please let us focus on helping you. Give us time and try not
to flood our phone lines.

If your payment count increases, FedLoan Servicing will send you an account update. You will
get an email or letter. It will tell you what actions, if any, you need to take. You can log in to
FedLoan’s borrower portal to track your payment counts. This is the best way to check on your
status.

We are also adding new information about the changes on StudentAid.gov/pslfwaiver. It has
answers to frequently asked questions.

We are determined to deliver for you on the promise of public service loan forgiveness. Thank
you for your service and your patience. We will send more updates soon.

Sincerely,




Richard Cordray
Chief Operating Officer
Federal Student Aid
Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 121 of 123




                       EXHIBIT U
         Current loan balance as of July 14, 2022
             Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 122 of 123
                                        EXHIBIT U
                                              (return to chart)




Loan Details

Main Content


Loan Details
Balance Overview

 Type of        Loan
  Loan         Balance                               Loan Balance Questions
 Balance       Amount

                          The principal balance includes the original amount you borrowed, plus any
                          applicable loan fees, minus any principal payments.
 Principal
             $19,872.07   This amount does not include accrued interest but may include interest
 Balance:
                          that was capitalized (added to the principal balance) when the loan(s)
                          entered repayment.


 Unpaid                   The amount of unpaid interest that is currently outstanding on your
             $178.29
 Interest:                account.


                          When you’re ready to pay your loan(s) in full, just go to the Loan Payoff
 Total
             $20,050.36   section to request your calculated payoff amount. You can then submit
 Balance
                          your payoff to us electronically.


Loan Details

Print All Loan Details

  Loan                                                                             Principal
                Date              Loan Program                       Status                     Action
 Number                                                                            Balance
                          DL SPECIAL CONSOL UNCNS
 11          09/14/2012                                           Paid In Full   $0.00
                          LOAN
                          DL SPECIAL CONSOL GRAD
 10          07/27/2012                                           Paid In Full   $0.00
                          PLUS LN
                          DL SPECIAL CONSOL
 4           06/27/2012                                           Paid In Full   $0 00
                          STAFFORD
             Case 5:22-cv-06897-SVK Document 1-1 Filed 11/04/22 Page 123 of 123
                                          EXHIBIT U
  Loan                                                                Principal
               Date              Loan Program             Status                                Action
 Number                                                               Balance
                          DL SPEC CONSOL SUBCNS
 5          06/27/2012                                         Paid In Full   $0.00
                          LOAN
                          DL SPECIAL CONSOL
 6          06/27/2012                                         Paid In Full   $0 00
                          STAFFORD
                          DL SPECIAL CONSOL UNSUB
 7          06/27/2012                                         Paid In Full   $0.00
                          LOAN
                          DL SPECIAL CONSOL
 8          06/27/2012                                         Paid In Full   $0.00
                          STAFFORD
                          DL SPECIAL CONSOL UNSUB
 9          06/27/2012                                         Paid In Full   $0.00
                          LOAN
 3          02/13/2012    DIRECT SUB STAFFORD LOAN             Forbearance    $5,863.54
 1          08/18/2010    DIRECT SUB STAFFORD LOAN             Forbearance    $5,353.30
                          DIRECT UNSUB STAFFORD
 2          08/18/2010                                         Forbearance    $8,655.23
                          LOAN




Loan Verification Letter
If you are applying for a mortgage, or other financing, your lender may ask you to provide a letter
verifying your student loan debt and status


     Learn More



Do You Work In Public Service?
You may qualify for the Public Service Loan Forgiveness program.

PSLF
